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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 NATIONAL FAIR HOUSING ALLIANCE, et
 al.,

               Plaintiffs,
                                                    No. 18 CV 839
          v.
                                                    Judge Manish S. Shah
 DEUTSCHE BANK NATIONAL TRUST, AS
 TRUSTEE, et al.,

               Defendants.

                         MEMORANDUM OPINION AND ORDER

        Plaintiffs are a group of twenty private fair housing organizations that

conducted a multi-year, multi-city investigation into the allegedly discriminatory

maintenance and marketing of real estate owned properties in the wake of the 2008

financial crisis. That investigation spurred this lawsuit and others. See Nat’l Fair

Hous. All. v. Fed. Nat’l Mortg. Ass’n, 294 F.Supp.3d 940 (N.D. Cal. 2018), and Nat’l

Fair Hous. All. v. Bank of Am., N.A., 401 F.Supp.3d 619 (D. Md. 2019). The properties

at issue in this lawsuit were owned by defendants Deutsche Bank National Trust and

Deutsche Bank Trust Company Americas and serviced by defendants Ocwen Loan

Servicing and Altisource Solutions. Plaintiffs allege that defendants violated the Fair

Housing Act by discriminatorily maintaining and marketing the properties based on

race.

        Most of plaintiffs’ claims survived defendants’ second motion to dismiss. See

Nat’l Fair Hous. All. v. Deutsche Bank, No. 18-cv-839, 2018 WL 6045216 (N.D. Ill.
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Nov. 19, 2018), and Nat’l Fair Hous. All. v. Deutsche Bank Nat’l Tr., No. 18-cv-839,

2019 WL 5963633 (N.D. Ill. Nov. 13, 2019). Defendants move to dismiss for lack of

standing under Federal Rule of Civil Procedure 12(b)(1). All defendants move for

summary judgment on liability under the Fair Housing Act. The Deutsche Bank

defendants move for summary judgment on the issue of vicarious liability. Both sides

move to exclude expert testimony under Federal Rule of Evidence 702 and Daubert

v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993).

I.    Legal Standards

      A plaintiff must demonstrate standing “at every stage of litigation.”

Uzuegbunam v. Preczewski, 592 U.S. 279, 291 (2021). As the party invoking federal

jurisdiction, plaintiffs bear the burden of establishing Article III standing. Lujan v.

Defs. of Wildlife, 504 U.S. 555, 561 (1992). At the summary judgment stage, plaintiffs

must “set forth by affidavit or other evidence specific facts supporting their standing

to sue.” Alicea v. Cnty. of Cook, 88 F.4th 1209, 1215 (7th Cir. 2023) (citation omitted).

      A motion for summary judgment must be granted when “the movant shows

that there is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a). A genuine dispute of material fact

exists if the evidence is such that a reasonable jury could return a verdict in favor of

the non-moving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). I

view all the facts and draw reasonable inferences in favor of the non-moving party to

determine whether summary judgment is appropriate. See Uebelacker v. Rock Energy

Coop., 54 F.4th 1008, 1010 (7th Cir. 2022).



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II.    Background

       A.     The Parties

       Plaintiffs are twenty national and regional fair housing organizations seeking

to eliminate housing discrimination and to ensure equal housing opportunities. 1 [362]

at 2–4 (¶¶ 1–20); [398] ¶¶ 19, 322–41. 2 Defendants Deutsche Bank National Trust

and Deutsche Bank Trust Company Americas act as trustees for residential

mortgage-backed securitization trusts. [362] at 4 (¶ 1). As trustees, they hold legal

title to certain “real estate owned properties.” [405] ¶ 2. An REO property generally

refers to a foreclosed property owned by the lender. 3 In a residential mortgage-backed

securities transaction, mortgage loans are pooled together and interests in the money

generated from those loans are sold to investors. [352] ¶ 2. After the 2008 financial

crisis, financial institutions like Deutsche Bank foreclosed on the residential


1 Plaintiffs are National Fair Housing Alliance, Inc., Fair Housing Advocates of Northern

California (formerly Fair Housing of Marin), the Central Ohio Fair Housing Association, the
Connecticut Fair Housing Center, the Denver Metro Fair Housing Center, the Fair Housing
Center of Central Indiana, Fair Housing Center of the Greater Palm Beaches, Fair Housing
Center of West Michigan, Fair Housing Continuum, Inc., Greater New Orleans Fair Housing
Action Center, HOPE Fair Housing Center, Housing Opportunities Made Equal of Virginia,
Housing Opportunities Project for Excellence, Inc., the Fair Housing Center for Rights &
Research (formerly known as Housing Research & Advocacy Center), the Miami Valley Fair
Housing Center, Metropolitan Milwaukee Fair Housing Council, North Texas Fair Housing
Center, Open Communities, the South Suburban Housing Center, Fair Housing
Opportunities of Northwest Ohio, Inc., d/b/a Toledo Fair Housing Center. [362] at 2–4 (¶¶ 1–
20).
2 Bracketed numbers refer to entries on the district court docket and page numbers refer to

the CM/ECF header placed at the top of filings. In the case of citations to depositions, I also
use the deposition transcript’s original page numbers. The facts are largely taken from the
parties’ responses to Local Rule 56.1 statements of material fact and additional fact where
both the asserted fact and response are set forth in one document. [352]; [362]; [398]; [405].
3 There are stages after a mortgage loan is in default and before it formally becomes an “REO”

property. See [398] ¶ 8. The parties use the term “REO properties” throughout their briefs to
refer to the properties identified in this lawsuit.

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properties securing mortgages and took title. [398] ¶ 1. Generally, REO properties

are serviced by mortgage loan servicers like defendant Ocwen Loan Servicing, LLC.

[362] at 4 (¶¶ 1–2). In 2009, Ocwen acquired the mortgage-servicing rights for the

REO properties titled to Deutsche Bank and identified in this lawsuit. [398] ¶ 8.

Defendant Altisource Solutions, Inc. operated as a subsidiary of Ocwen until 2009

when it entered into long-term servicing contracts with Ocwen. [398] ¶ 9. As Ocwen’s

exclusive third-party vendor, Altisource serviced the majority of the REO properties

in this lawsuit. [398] ¶¶ 8, 10. Ocwen’s and Altisource’s loan servicing activities run

the gamut, but two categories are relevant here. “Maintenance” activities encompass

the physical management and oversight of a property: default vacancy inspection

surveillance; preservation, maintenance, and repair; and inspections. [398] ¶¶ 8, 10,

16. “Marketing” and “sales” activities relate to the valuation and sale of the property:

pre-foreclosure appraisals and valuations; marketing; auctioning; brokering sales;

and providing title services. [398] ¶ 10.

      Plaintiffs launched an investigation in 2011 to determine whether a

neighborhood’s racial makeup affected the quality of the maintenance and marketing

of REO properties. [398] ¶ 26. They identified metropolitan areas based on foreclosure

rates (compared to the state and national levels) and the racial concentration of

communities. [398] ¶ 27. Within each metropolitan area, plaintiffs identified zip

codes with the highest rates of foreclosure compared to the metropolitan area, racial

concentration within the zip code, and selected zip codes in middle- and working-class

neighborhoods with high home ownership rates. [398] ¶ 28. Plaintiffs classified a zip



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code as predominantly “white” or “non-white” if it had greater than 50% of that

demographic. [398] ¶ 38. They limited their investigation of REO properties owned

by Deutsche Bank and serviced by Ocwen and Altisource to 30 metropolitan areas.

[398] ¶ 30. Based on publicly available data, plaintiffs identified Deutsche Bank-

owned REO properties within selected zip codes to investigate. [398] ¶ 34

         Plaintiffs developed a checklist of 35 criteria representing categories of possible

deficiencies in exterior maintenance, marketing, or “overall curb appeal.” [398] ¶ 39.

The categories included, for example: trash; accumulated mail; overgrown grass and

leaves; unsecured or broken doors and locks; damaged roof; “marketed as distressed

property”; “‘for sale’ sign missing”; unauthorized occupancy; graffiti; water damage;

or mold. 4 [398] ¶ 39. Local plaintiffs conducted on-site investigations of properties

and uploaded their inspection data, including property scoring and photographs, into

the NFHA’s centralized “REO database.” 5 [398] ¶ 48. The statistical analyses

conducted from the REO database became the basis for this lawsuit.




4 The full checklist included categories for: trash; accumulated mail; overgrown grass and

leaves; overgrown or dead shrubbery; dead grass; invasive plants; broken mailbox;
miscellaneous curb appeal; unsecured or broken doors and locks; damaged steps/handrails;
damaged windows; damaged roof; damaged fence; holes; wood rot; miscellaneous structure;
trespassing or warning signs; marketed as distressed property; “for sale” sign missing;
broken or discarded signage; unauthorized occupancy; miscellaneous signage and occupancy;
graffiti; peeling or chipped paint; damaged siding; missing shutters; miscellaneous paint &
siding; missing or out of place gutters; broken or hanging gutters; obstructed gutters;
miscellaneous gutters; water damage; mold; miscellaneous gutters; and exposed or tampered
with utilities. [398] ¶ 39.
5 The parties dispute whether these “deficiency” categories are consistent with industry
standards; reflect subjective or objective criteria; and the qualifications of investigators to
apply the criteria. See [362] ¶¶ 2–5. These disputes are the subject of plaintiffs’ experts
Deavay Tyler’s and Albert Poche’s proposed testimony. See below V.C. and V.F.

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       B.      Procedural History

       Plaintiffs initially filed an administrative complaint with the Department of

Housing and Urban Development on February 26, 2014, alleging that defendants’

maintenance and marketing of REO properties violated the Fair Housing Act. [405]

¶ 64. Plaintiffs withdrew their administrative complaint after filing this lawsuit on

February 1, 2018. 6 [1]; [70] ¶ 13.

       Judge Leinenweber granted defendants’ first motion to dismiss. See Nat’l Fair

Hous. All. v. Deutsche Bank, No. 18-cv-839, 2018 WL 6045216 (N.D. Ill. Nov. 19,

2018). Plaintiffs amended the complaint, and after a second motion to dismiss, Judge

Leinenweber allowed three claims under the Fair Housing Act, 42 U.S.C. §§ 3604(a),

(b), and 3605, and a “perpetuation of segregation” claim to proceed. See Nat’l Fair

Hous. All. v. Deutsche Bank Nat’l Tr., No. 18-cv-839, 2019 WL 5963633 (N.D. Ill. Nov.

13, 2019). Defendants did not challenge plaintiffs’ Article III standing. See NFHA II,

2018 WL 6045216, at *13 (referencing Havens but distinguishing its application to

the question of proximate cause under the Act). Judge Leinenweber addressed

plaintiffs’ injury and proximate cause as a merits question and barred plaintiffs from

recovering damages based on their community investments and for harms to the

minority neighborhoods that plaintiffs serve. NFHA II, 2019 WL 5963633, at **6–8

(citing Bank of Am. Corp. v. City of Miami, Fla., 581 U.S. 189 (2017)).




6 HUD issued a no-cause finding in NFHA’s administrative complaint against U.S. Bank in

2016. See [320-32]. Plaintiffs object to the relevance of that opinion. [362] ¶ 31. That objection
is sustained.

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       Defendants now move to dismiss under Rule 12(b)(1) for lack of standing

following FDA v. All. for Hippocratic Med., 602 U.S. 367 (2024). [429]. Defendants

move to exclude all seven of plaintiffs’ expert witnesses. [303], [305], [307], [318],

[323], [326], [327]. Plaintiffs move to exclude four of defendants’ expert witnesses.

[311]. Defendants jointly move for summary judgment on liability under the Fair

Housing Act. [315]. The Deutsche Bank defendants move for summary judgment on

vicarious liability. [332].

       C.     Law of the Case Doctrine

       The law of the case doctrine creates a presumption that a second judge will

refrain from revisiting prior rulings merely based on a “different view of the law or

facts” from the first judge. Williams v. Comm’r, 1 F.3d 502, 503 (7th Cir. 1993). The

presumption reflects the “rightful expectations of litigants that a change of judges

mid-way through a case will not mean going back to square one.” Best v. Shell Oil

Co., 107 F.3d 544, 546 (7th Cir. 1997). But a second judge may reconsider a prior

ruling based on an error of law or “new development, such as a new appellate

decision.” Galvan v. Norberg, 678 F.3d 581, 587 (7th Cir. 2012). The doctrine also

applies with less force in cases like this one where the issues presented at the

summary judgment stage may be different than how they were presented at the

motion to dismiss stage. See Brengettcy v. Horton, 423 F.3d 674, 680 (7th Cir. 2005).

To the extent that I depart from the legal framework that Judge Leinenweber laid

out for plaintiffs to pursue their remaining claims, I limit my reconsideration to

correct any manifest errors or to reflect intervening developments in the law.



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       D.     The Fair Housing Act

       Plaintiffs’ remaining claims arise under three provisions of the Fair Housing

Act, see [70] ¶¶ 303–75, “each with its own text and governing precedent.” Gilead

Cmty. Servs., Inc. v. Town of Cromwell, 112 F.4th 93, 98 (2d Cir. 2024).

       Section 3604(a) of the Act makes it unlawful to “refuse to sell or rent after the

making of a bona fide offer, or to refuse to negotiate for the sale or rental of, or

otherwise make unavailable or deny, a dwelling to any person because of [race].” 42

U.S.C. § 3604(a). “Availability of housing is at the heart of § 3604(a).” Bloch v.

Frischholz, 587 F.3d 771, 776 (7th Cir. 2009) (en banc).

       Section 3604(b) prohibits discrimination “in the terms, conditions, or privileges

of sale or rental of a dwelling, or in the provision of services or facilities in connection

therewith, because of [race].” 42 U.S.C. § 3604(b). HUD regulations define prohibited

conduct under § 3604(b) to include “[f]ailing or delaying maintenance or repairs of

sale or rental dwellings because of [race].” 29 C.F.R. § 100.65(b)(2).

       Section 3605 makes it unlawful for “any person or other entity whose business

includes engaging in residential real estate-related transactions to discriminate

against any person in making available such a transaction, or in the terms or

conditions of such a transaction, because of [race].” 42 U.S.C. § 3605(a). Residential

real estate-related transactions include “[t]he selling, brokering, or appraising of

residential real property.” Id. § 3605(b)(2).

       Plaintiffs also bring claims for “conduct perpetuating segregation” under the

Fair Housing Act generally. See [70] ¶¶ 338–49, 370–75. Judge Leinenweber

permitted plaintiffs to pursue a claim for perpetuation of segregation under
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Metropolitan Housing Development Corp. v. Arlington Heights, 558 F.2d 1283 (7th

Cir. 1977). See NFHA II, 2019 WL 5963633, at *20. “Perpetuation of segregation” is

better understood as framework to establish liability under the Fair Housing Act

rather than a standalone discriminatory practice proscribed by the statute. In

Arlington Heights, the Seventh Circuit held that a violation of § 3604(a) could be

established “by a showing of discriminatory effect without a showing of

discriminatory intent.” 558 F.2d at 1291. The court explained that a facially neutral

decision can produce two types of racially discriminatory effects if it: (1) has a greater

adverse impact on a particular racial group or (2) “perpetuates segregation and

thereby prevents interracial association” in a community. Id. at 1290. At the time,

the Supreme Court had not yet addressed whether the Fair Housing Act recognizes

disparate-impact liability. In Texas Dep’t of Housing and Community Affairs v.

Inclusive Communities Project, Inc., 576 U.S. 519, 533–34 (2015), the Supreme Court

held that it does. Rather than treating “perpetuation of segregation” as a standalone

claim, I apply Arlington Heights as an alternative framework for plaintiffs to prove a

discriminatory effect under §§ 3604 or 3605 of the Act. See Arlington Heights, 558

F.2d at 1290 (listing four relevant factors); Bloch, 587 F.3d at 784 (referring to the

Arlington Heights factors as a “modified disparate impact theory”); see also 24 C.F.R.

§ 100.500(a) (2023). 7


7 This is consistent with HUD’s classification of “perpetuation of segregation” as a type of

discriminatory effect that may give rise to liability under the Fair Housing Act. See
Reinstatement of HUD’s Discriminatory Effects Standard, 88 Fed. Reg. 19,450, 19,454 (Mar.
31, 2023) (amending 24 C.F.R. § 100.500) (explaining that the 2023 rule “does not impose any
new liability, but merely provides a consistent, nationwide framework for determining


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       Plaintiffs pursue all claims under disparate-treatment and disparate-impact

theories of liability. In a disparate-treatment case, a “plaintiff must establish that the

defendant had a discriminatory intent or motive.” Inclusive Communities, 576 U.S.

at 524–25 (citing Ricci v. DeStefano, 557 U.S. 557, 577 (2009)). A disparate-impact

claim “challenges practices that have a ‘disproportionately adverse effect on

minorities’ and are otherwise unjustified by a legitimate rationale.” Id.

       Disparate treatment, or intentional discrimination, under the Fair Housing

Act can be proved through “direct or circumstantial evidence, or indirectly, through

the [McDonnell Douglas burden-shifting framework].” E.-Miller v. Lake Cnty.

Highway Dep’t, 421 F.3d 558, 563 (7th Cir. 2005). Plaintiffs seek to prove intentional

discrimination through (1) the McDonnell Douglas burden-shifting framework; (2)

the multi-factor inquiry in Arlington Heights v. Metropolitan Housing Corp., 429 U.S.

252 (1977) 8; and (3) the deliberate-indifference standard in Wetzel v. Glen St. Andrew

Living Community, LLC, 901 F.3d 856 (7th Cir. 2018). [360] at 47–48. Judge

Leinenweber observed that the Deutsche Bank defendants could be held directly

liable for discriminatory conduct that the Bank “had the ability to affect[] but failed

to do so” under Wetzel. See NFHA II, 2019 WL 5963633, at **9–11. But Wetzel does




whether a given practice has an unjustified discriminatory effect, leading to liability under
the Act”). A practice has a discriminatory effect and violates the Act “where it actually or
predictably results in a disparate impact on a group of persons or creates, increases,
reinforces, or perpetuates segregated housing patterns because of [race].” 24 C.F.R.
§ 100.500(a) (emphasis added).
8 The relevant factors include: the historical background of the challenged decision, the
sequence of events leading up to the decision, departure from normal procedures, and
relevant legislative or administrative history. See Arlington Heights, 429 U.S. at 267–68.

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not describe a method of proving the underlying discriminatory conduct under

§§ 3604(b) and 3617 of the Fair Housing Act. See Wetzel, 901 F.3d at 862–63 (framing

the question as “who is subject to [the Act’s] prohibitions” rather than “what is

prohibited”) (emphasis in original). Plaintiffs may proceed under the McDonnell

Douglas burden-shifting framework or the Supreme Court’s Arlington Heights

inquiry to prove intentional discrimination.

       To establish disparate-impact liability, Judge Leinenweber held that plaintiffs

must establish a prima facie case showing: “(1) a statistical disparity and (2) that the

defendant[s] maintained a specific policy that (3) caused the disparity.” NFHA II,

2019 WL 5963633, at *13 (citing Cty. of Cook v. Wells Fargo & Co., 314 F.Supp.3d

975, 990 (N.D. Ill. 2018)). I apply that framework now, recognizing that courts

disagree on whether the Supreme Court implicitly adopted HUD’s burden-shifting

framework for disparate-impact liability. 9 Compare Inclusive Communities Project,

Inc. v. Lincoln Prop. Co., 920 F.3d 890, 902 (5th Cir. 2019) (finding that the Supreme

Court’s decision in Inclusive Communities articulated “a more demanding test than

set forth in the HUD regulation”), with Mhany Mgmt., Inc. v. Cnty. of Nassau, 819

F.3d 581, 618 (2d Cir. 2016) (“The Supreme Court implicitly adopted HUD’s

approach…”), and Reyes v. Waples Mobile Home Park Ltd. P’ship, 903 F.3d 415, 424




9 Two questions were presented on petition for a writ of certiorari in Inclusive Communities:

(1) “Are disparate-impact claims cognizable under the Fair Housing Act?” and (2) “If
disparate-impact claims are cognizable under the Fair Housing Act, what are the standards
and burdens of proof that should apply?” The Court granted certiorari only as to the first
question. See Inclusive Communities Project, Inc. v. Texas Dep’t of Hous. & Cmty. Affs., 747
F.3d 275 (5th Cir.), cert. granted, 573 U.S. 991 (2014).

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n.4 (4th Cir. 2018) (applying the burden-shifting framework from Inclusive

Communities without deciding whether there are meaningful differences between the

Supreme Court’s and HUD’s frameworks). The Seventh Circuit has not squarely

addressed this issue. See City of Joliet v. New W., L.P., 825 F.3d 827, 830 (7th Cir.

2016) (under Inclusive Communities, “[d]isparate-impact analysis looks at the effects

of policies, not one-off decisions”); Tri-Corp Hous. Inc. v. Bauman, 826 F.3d 446, 449

(7th Cir. 2016).

      If plaintiffs prove discriminatory conduct by Ocwen or Altisource, Deutsche

Bank could be liable for that harm. The Fair Housing Act recognizes direct and

vicarious liability. Meyer v. Holley, 537 U.S. 280, 285 (2003); see also 24 C.F.R.

§ 100.7. Vicarious liability can be established through ordinary agency principles,

while direct liability may be proven through Deutsche Bank’s “deliberate

indifference” to the discriminatory conduct committed by others. See Wetzel, 901 F.3d

at 856; NFHA II, 2019 WL 5963633, at **9–11.

      To sum up, three substantive provisions of the Fair Housing Act remain in this

case: 42 U.S.C. §§ 3604(a), (b), and 3605. These provisions define what conduct is

prohibited by the Act. Plaintiffs may prove a violation of these provisions by showing

that: (1) defendants were motivated by discriminatory intent (disparate treatment)

and caused housing to be unavailable, failed to maintain housing, or discriminated

in selling, brokering, or appraising or (2) defendants’ policies caused a discriminatory

effect in housing availability, maintenance, or selling, brokering, or appraising

(disparate impact or perpetuation of segregation). These are alternative theories of



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liability, each with different standards. If plaintiffs provide sufficient evidence of

discriminatory conduct under any of these theories, the doctrines of direct and

vicarious liability determine the Deutsche Bank defendants’ liability.

III.   Article III Standing

       Defendants argue that the Supreme Court’s decision in FDA v. Alliance for

Hippocratic Medicine, 602 U.S. 367 (2024), forecloses plaintiffs’ lawsuit. [430] at 5.

Because plaintiffs sue defendants “in [their] own right,” individual standing

requirements apply. See Havens Realty Corp. v. Coleman, 455 U.S. 363, 378–79

(1982); Hippocratic Med., 602 U.S. at 393–94. Plaintiffs must demonstrate an injury

in fact that is fairly traceable to the challenged conduct of defendants and likely to be

redressed by a favorable judicial decision. Spokeo, Inc. v. Robins, 578 U.S. 330, 338

(2016). Each plaintiff must demonstrate Article III standing for each form of relief

sought, TransUnion LLC v. Ramirez, 594 U.S. 413, 431 (2021), but “the presence of

one party with standing is sufficient to satisfy Article III’s case-or-controversy

requirement.” Rumsfeld v. Forum for Academ. & Institutional Rights, Inc., 547 U.S.

47, 52 n.2 (2006); Biden v. Nebraska, 600 U.S. 477, 489 (2023) (“If at least one plaintiff

has standing, the suit may proceed.”). Standing is separate from the merits. See Fed.

Election Comm’n v. Cruz, 596 U.S. 289, 298 (2022); Arreola v. Godinez, 546 F.3d 788,

794–95 (7th Cir. 2008) (“Standing is a prerequisite to filing suit, while the underlying

merits of a claim (and the laws governing its resolution) determine whether the




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plaintiff is entitled to relief.”) (emphasis in original); see also Pit Row, Inc. v. Costco

Wholesale Corp., 101 F.4th 493, 501 (7th Cir. 2024).

       In Havens, the plaintiff Housing Opportunities Made Equal alleged that

Havens Realty, the owner and operator of two apartment complexes, and one of its

employees violated § 3604 of the Fair Housing Act by engaging in racial steering. 455

U.S. at 366–67. Havens Realty told a Black renter that no apartments were available.

Id. at 368. Two HOME employees, acting as testers, asked about the availability of

apartments. Id. Havens lied. Id. It told the Black tester that there were no

apartments available and gave the opposite information to the white tester. Id.

HOME’s activities included operating a housing counseling service and investigating

and referring housing discrimination complaints. Id. HOME alleged that defendants’

racial steering practices “frustrated” the organization’s “efforts to assist equal access

to housing through counseling and other referral services” and caused them “to devote

significant resources to identify and counteract the defendant’s [sic] racially

discriminatory steering practices.” Id. at 369. The Court found that HOME

adequately alleged injury:

       If, as broadly alleged, [defendants’] steering practices have perceptibly
       impaired HOME’s ability to provide counseling and referral services for low-
       and moderate-income homeseekers, there can be no question that the
       organization has suffered injury in fact. Such concrete and demonstrable
       injury to the organization’s activities—with the consequent drain on the
       organization’s resources—constitutes far more than simply a setback to the
       organization’s abstract social interests.

Id. at 379. The Court also noted that HOME’s “noneconomic interest in encouraging

open housing does not effect [sic] the nature of the injury suffered… and accordingly



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does not deprive [it] of standing.” Id. at 379 n.20 (citing Arlington Heights v.

Metropolitan Housing Corp., 429 U.S. 252, 263 (1977)).

      The Supreme Court considered Havens in Hippocratic Medicine. Plaintiffs

were individual doctors and medical associations challenging FDA regulations for the

prescription and use of mifepristone. Hippocratic Med., 602 U.S. at 372–74. Invoking

Havens, the medical associations asserted that the FDA “impaired their ability to

provide services and achieve their organizational missions.” Id. at 394 (internal

quotation marks omitted). Their theory of standing was based on costs incurred to

oppose the FDA’s regulations: conducting studies on mifepristone to better inform

members and the public about the drug’s risks as well as expending “time, energy,

and resources” to draft citizen petitions and engage in public advocacy and public

education. Id. The Court rejected the medical associations’ expansive reading of

Havens. Id. at 395. An organization cannot “manufacture” injury and “spend its way

into standing simply by expending money to gather information and advocate against

the defendant’s action.” Id. The Court drew several distinctions between the medical

associations suing the FDA and HOME suing Havens Realty:

      Critically, HOME not only was an issue-advocacy organization, but also
      operated a housing counseling service. And when Havens gave HOME’s
      employees false information about apartment availability, HOME sued
      Havens because Havens ‘perceptibly impaired HOME’s ability to provide
      counseling and referral services…’. In other words, Havens’s actions directly
      affected and interfered with HOME’s core business activities—not dissimilar
      to a retailer who sues a manufacturer for selling defective goods to the retailer.
      That is not the kind of injury that the medical associations have alleged here.
      FDA’s actions relaxing regulation of mifepristone have not imposed any similar
      impediment to the medical associations’ advocacy businesses.




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Id. “Havens was an unusual case,” and the Court cautioned against “extend[ing] the

Havens holding beyond its context.” Id. at 396.

      I do not read Hippocratic Medicine as upending the landscape of standing.

Havens tells us what type of organizational injury is legally cognizable, and

Hippocratic Medicine tells us what’s not. The Court in Havens noted that mere

setbacks to an organization’s “abstract social interests” are insufficient to

demonstrate a concrete harm. Havens, 455 U.S. at 379. Hippocratic Medicine further

underscores that principle. An organization’s “general legal, moral, ideological, and

policy concerns do not suffice on their own to confer Article III standing to sue in

federal court.” Hippocratic Med., 602 U.S. at 386.

      Defendants cite to Arizona Alliance for Retired Americans v. Mayes, 117 F.4th

1165 (9th Cir. 2024), reh’g en banc granted and op. vacated, No. 22-16490, 2025 WL

843314 (9th Cir. Mar. 18, 2025), which overruled Ninth Circuit precedent in light of

Hippocratic Medicine. The panel held that circuit precedent “went astray” of Havens

by applying a “more forgiving two-part test” and requiring only that an organization

demonstrate (1) frustration of an organizational mission and (2) diversion of

resources to combat the challenged conduct. See Arizona All., 117 F.4th at 1176. That

opinion was vacated, and in any case, is not controlling. The Seventh Circuit never

adopted that test. In Common Cause Indiana v. Lawson, 937 F.3d 944, 952 (7th Cir.

2019), the court of appeals held that a voting organization had standing to challenge

an election law because it would be forced to divert resources to counter harms such




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as erroneous registration removal and “displace other projects” that the organization

would “normally undertake.” The court clarified important limits:

      Organizations [do not] have standing based solely on the baseline work they
      are already doing. They cannot convert ordinary program costs into an injury
      in fact. The question is what additional or new burdens are created by the law
      the organization is challenging. It must show that the disruption is real and
      its response is warranted.

Common Cause Indiana, 937 F.3d at 955 (cleaned up). Common Cause does not

conflict with Hippocratic Medicine, and the standing principles articulated in Havens

remain authoritative.

      Under Havens, plaintiffs demonstrate concrete injury if defendants’ conduct

impaired (i.e., “directly affected and interfered with”) their ability to provide services

(i.e., a “core business activity”). See Havens, 455 U.S. at 379, and Hippocratic Med.,

602 U.S. at 396. A mere setback to an organization’s “abstract social interests” isn’t

sufficient to establish a concrete injury under Havens or Hippocratic Medicine, and it

isn’t sufficient under this circuit’s precedent. Unlike the medical associations in

Hippocratic Medicine, all twenty plaintiff organizations do more than advocacy work;

they all operate housing counseling and referral services. See [435] at 7; [398] ¶¶ 322–

41. The same organizational plaintiff in Havens, HOME of Virginia, is a plaintiff in

this lawsuit. [398] ¶ 333. Plaintiffs identify four categories of “core business activities

and services” that were allegedly impaired by defendants’ conduct: (1) consumer

counseling and referrals, (2) neighborhood stabilization activities, (3) homeownership

promotion, and (4) REO-specific training and education. [435] at 7–16. I focus on

plaintiffs’ consumer counseling and referral services—the type of services squarely



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addressed in Havens—and something that all plaintiff organizations offer. 10

Plaintiffs say that defendants’ discriminatory REO practices limited the available

housing stock for the people they serve. [435] at 7. Defendants’ failure to maintain

properties in non-white neighborhoods, in other words, effectively made those

properties “unavailable.” In turn, fewer housing options impaired plaintiffs’ ability to

assist clients in finding suitable homes. 11

       Plaintiffs offer specific examples of how their counseling services have been

impaired. HOME of Virginia provides “‘mobility counseling’ to help low- and

moderate-income homeseekers find housing.” [435] at 7; [398] ¶ 333. HOME

explained the impact of defendants’ REO practices on its counseling services:

       [W]e also ensure equal access to housing through extensive housing
       counseling, and that relies on there being properties on the market that are
       available to first-time home buyers, which was directly impeded by the fact
       that Deutsche Bank bought those properties and [allowed] properties that
       would have been available to our first-time home buyers to decay and didn’t
       properly market them… You know, given our mission, often those properties
       then aren’t available to first-time home buyers.

[435-2] at 12 (157:13–23). Metropolitan Milwaukee Fair Housing Council attested to

similar impediments to their counseling services, [369-8] at 740 (140:9–19):

       There were more than, at one point, 17,000 code violations for Deutsche Bank
       properties that were owned in Milwaukee… there were only 1,402 properties
       but there were 17,000 violations. So our mission to stabilize neighborhoods, to


10 Defendants do not dispute the fact that all plaintiffs offer counseling and referral services.

See [398] ¶¶ 322–41.
11 Plaintiffs also argue that defendants impaired their counseling and referral work by
“stigmatizing and destabilizing communities of color.” [435] at 7. Concrete injuries include
intangible harms, but it’s unclear whether stigmatic injury alone is sufficient under Article
III. Cf. TransUnion, 594 U.S. at 436 n.7 (“We take no position on whether or how such an
emotional or psychological harm could suffice for Article III purposes.”). So, I focus my
analysis on plaintiffs’ injuries tied to housing availability for their clients.

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      essentially provide economic resource for individuals looking for housing, was
      frustrated. The actions of Deutsche Bank took houses off the market. There’s
      a lack of affordable housing in Milwaukee. And these boardups are unusable.
      You can’t sell them. You can’t tear them down.

      These facts are sufficient to demonstrate that defendants’ REO conduct

perceptibly impaired the organizations’ core counseling activities. The dilapidated

REO properties are akin to the “defective goods” sold by a manufacturer to a retailer

and passed off to a consumer. See Hippocratic Med., 602 U.S. at 395 (analogizing

HOME in Havens to “a retailer who sues a manufacturer for selling defective goods

to the retailer”). Defendants say plaintiffs fail to identify a specific constituent who

was unable to find housing due to defendants’ maintenance conduct. [440] at 10. They

point out that other social factors like crime, unemployment, historical segregation,

and economic inequality created the barriers to housing. [440] at 11. Defendants

argue that plaintiffs are attempting to spend their way into standing by identifying

a housing harm that doesn’t actually exist, making it inapposite to HOME’s activities

to combat racial steering in Havens. These arguments blur the Article III standing

inquiry with the merits inquiry. Plaintiff organizations adequately identify Deutsche

Bank-owned properties in their communities that were unsuitable for their clients

due to inadequate maintenance and code compliance. Havens involved housing

unavailability based on false information, which made the harm to HOME’s clients

more like an outright form of housing denial. Here, plaintiffs’ legal theory under

§ 3604(a) is different because it involves unavailability based on poor maintenance.

And plaintiffs separately pursue a claim for defendants’ failure to maintain and

repair properties under § 3604(b), which does not require a showing of unavailability.

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See 42 U.S.C. § 3604(b); 29 C.F.R. § 100.65(b)(2). Whether a prospective homeseeker

failed to find a home because a property was truly made unavailable under the

meaning of § 3604(a) goes to the merits of plaintiffs’ legal theory (i.e., whether

plaintiffs have a statutory cause of action or present sufficient evidence of a

discriminatory effect caused by defendants’ maintenance conduct). I do not scrutinize

the merits of that legal theory to evaluate plaintiffs’ standing. Defendants’ argument

that other social factors are responsible for the housing barriers that impede

plaintiffs’ counseling activities goes to causation on the merits, namely, whether

plaintiffs establish a prima facie case of disparate-impact liability. On the Article III

standing inquiry, the evidence in the record is sufficient to establish that the harm to

plaintiffs’ counseling and referral services was “real” and their responses

“warranted.” See Common Cause Indiana, 937 F.3d at 955.

      To be sure, plaintiffs also claim injury to “abstract social interests” that would

be insufficient to confer standing under Havens or Hippocratic Medicine. Plaintiffs’

core business activities related to REO-specific education include training industry

stakeholders on best practices; meeting with local governments to encourage code

violation enforcement for REOs; and issuing reports on REO discrimination to raise

awareness of the issue. [435] at 11–12. I agree with defendants that these are the

kinds of “issue advocacy” efforts that relate to plaintiffs’ broad social or policy goals

rather than defendants’ specific REO conduct. But unlike the medical associations in

Hippocratic Medicine, issue advocacy is only part of the activities that the plaintiff

organizations expend resources on. I need not decide whether these injuries are



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sufficient to support standing. 12 See Common Cause Indiana, 937 F.3d at 956 (“We

need not decide here whether all the injuries to which the [o]rganizations point are

enough to support standing; it is enough that some do.”).

       Plaintiffs also provide sufficient evidence at this stage of a “consequent drain

on resources.” 13 Havens, 455 U.S. at 379. Specifically, they produce evidence of

expenditures in the form of “diversion logs,” [362] ¶¶ 38–57, though defendants

disagree with the method of calculating those costs and identify legitimate concerns

with overbilling and sloppy accounting. [316] at 38–56. There is no dispute, however,

that plaintiffs incurred costs to their counseling and referral programs. I remind

plaintiffs that each organization must demonstrate standing to recover individual

damages. See TransUnion, 594 U.S. at 431 (“Article III does not give federal courts



12 Defendants cite to Legal Aid Chicago v. Hunter Properties, Inc., No. 23-CV-4809, 2024 WL

4346615 (N.D. Ill. Sept. 30, 2024), where the court found that a non-profit organization
providing housing-related legal services lacked Article III standing to challenge a private
landlord’s “No-Evictions Policy.” The facts of that case are distinguishable. There, plaintiff
Legal Aid Chicago alleged that the defendant-landlord’s blanket policy of screening tenants
for past evictions risked erroneous rejections of applicants and forced the organization to
expend more resources to “more aggressively litigate cases” and “seal all types of eviction
records.” 2024 WL 4346615, at **1–4. The court noted that Legal Aid Chicago’s alleged injury
was abstract and generalized, describing its “efforts to fight evictions and no-eviction policies
generally” rather than its efforts to oppose defendant’s conduct specifically. Id. at *6. Legal
Aid Chicago’s alleged injury to divert resources to fight evictions and eviction-related housing
denials was the type of “baseline” work to further its “broader mission” of housing advocacy.
Id. at **10–11 (citing Common Cause Indiana, 937 F.3d at 955). Here, plaintiffs do more than
identify activities undertaken to oppose general housing harm caused by the type of policies
that defendants engage in. They provide specific evidence of impairment to their housing and
counseling services based on defendants’ maintenance of actual REO properties in their
respective communities. That’s different than the high level of abstraction that the court in
Hunter Properties found inadequate to support Legal Aid Chicago’s claim of concrete injury.
13 A showing of a “consequent drain on resources” under Havens is sufficient “not only for

causation but for the redressability element of standing, since without [the challenged action]
there will be less drain on [the organization’s] resources.” Common Cause Indiana, 937 F.3d
at 956.

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the power to order relief to any uninjured plaintiff.”). To the extent the claims survive

summary judgment, each plaintiff must be prepared to support individual standing

“by the evidence adduced at trial.” Id.

      Finally, plaintiffs seek injunctive relief in their second amended complaint.

[70] at 115 (request to permanently enjoin defendants from violating the Act).

Defendants do not move to dismiss plaintiffs’ claim for injunctive relief, and plaintiffs

do not raise any facts in support of that claim. To establish standing for injunctive

relief, however, plaintiffs must allege a “real and immediate” threat of future

violations. See Scherr v. Marriott Int’l, Inc., 703 F.3d 1069, 1074 (7th Cir. 2013).

Because plaintiffs do not present any evidence in the record of defendants’ ongoing

REO conduct that suggest a risk of future violations, any claim for injunctive relief is

dismissed for lack of standing.

IV.   Local Rule 56.1 and Evidentiary Issues

      Local   Rule    56.1   “aims   to   make   summary-judgment       decisionmaking

manageable for courts.” Kreg Therapeutics, Inc. v. VitalGlo, Inc., 919 F.3d 405, 415

(7th Cir. 2019). The moving party must file a statement of facts that demonstrates

its entitlement to judgment as a matter of law. See Petty v. City of Chicago, 754 F.3d

416, 420 (7th Cir. 2014); N.D. Ill. Local R. 56.1(a)(2). The nonmoving party must file

a response to that statement and may provide a separate statement of additional

facts. N.D. Ill. Local R. 56.1(b)(2)–(3). Both statements of fact and statements of




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additional fact must consist of concise numbered paragraphs, supported by citations

to specific pages in the evidentiary record. See N.D. Ill. Local R. 56.1(d)(1)–(2).

      A.     Motions to Strike

      Defendants move to strike dozens of plaintiffs’ statements of additional facts

for containing compound facts, asserting legal arguments, and failing to cite to

specific evidentiary material in violation of Local Rule 56.1. [391]. The court granted

both parties’ motions for leave to file additional statements of fact. See [302] (240

statements of fact for defendants’ joint motion for summary judgment), and [371] (83

additional facts to respond to the Deutsche Bank defendants’ motion for summary

judgment and 345 additional facts to respond to the joint motion).

      Many of plaintiffs’ statements of additional fact violate the Local Rules by

combining several facts into a single statement, including one statement of fact that

spans eight pages with over two dozen subsections. See, e.g., [398] ¶¶ 122, 200, 236;

[405] ¶ 68. Some of defendants’ statements also include compound facts. See, e.g.,

[352] ¶ 2. The Local Rules require “concise” statements of fact, and these statements

violate that requirement. Because striking lengthy statements risks throwing out

material facts, I decline to strike noncompliant statements. See N.D. Ill. Local R.

56.1(e)(2) (motions to strike are generally disfavored).

      Plaintiffs also violate the Local Rules by failing to cite to specific page numbers

and citing instead to entire exhibits. See, e.g., [398] ¶¶ 231, 300. I disregard any facts

not properly supported by specific citations to the record. See N.D. Ill. Local R.

56.1(d)(2). An asserted fact not controverted by reference to specific, admissible



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evidence is also deemed admitted. N.D. Ill. Local R. 56.1(e)(3); see Cracco v. Vitran

Exp., Inc., 559 F.3d 625, 632 (7th Cir. 2009); see, e.g., [398] ¶¶ 8, 51, 237, 276, 332.

       Both parties present legal arguments in their statements of fact. For example,

both sides assert legal conclusions about defendants’ duties and liabilities under the

Governing Agreements. Striking these statements is unnecessary—I disregard any

legal arguments presented in statements of fact. See Cady v. Sheahan, 467 F.3d 1057,

1060–61 (7th Cir. 2006); see, e.g., [352] ¶¶ 4–5, 7, 15, 21, 23, 25; [362] ¶ 18; [398] ¶¶ 3,

71, 138, 258, 316; [405] ¶¶ 6, 68.

       Finally, general objections to the characterization of facts are also sustained. I

omit characterizations and instead rely on the language of the cited material when

possible. See, e.g., [352] ¶¶ 4–5; [398] ¶¶ 7, 20, 39, 121, 212, 239. Many of the disputes

in the parties’ Rule 56.1 statements implicate contested expert testimony. I rule on

the admissibility of expert testimony separately. See below V; see, e.g., [352] ¶¶ 32–

33; [362] ¶¶ 7, 19–22; [398] ¶¶ 42, 72–94, 181, 280–315; [405] ¶¶ 76–79. Any

admissibility objections raised by the parties in the Rule 56.1 statements that are not

addressed in the Daubert rulings are deemed immaterial to resolving the pending

motions for summary judgment. The parties dispute many facts but not all of them

are material. I disregard immaterial facts. See, e.g., [398] ¶¶ 20–22, 24, 46, 138. To

the extent disputed facts are relevant and the parties rely on admissible evidence, I

include them in the light most favorable to plaintiffs.

       B.     Admissibility of the REO Investigation Database

       Defendants broadly seek to exclude plaintiffs’ investigation database as

inadmissible hearsay. [316] at 9–10, 17–19. The REO database contains plaintiffs’
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scoring of properties and photographs from on-site inspections. [362] ¶¶ 11–13; [398]

¶ 48. Plaintiffs seek to admit inspection records from the REO database under the

business records exception, Fed. R. Evid. 803(6), and photographs of properties as

non-hearsay evidence of property conditions. [360] at 29. Plaintiffs separately seek to

admit the database records under Fed. R. Evid. 1006. [360] at 30.

       Rule 1006 permits the use of summaries or charts “to prove the content of

voluminous admissible writings, recordings, or photographs that cannot be

conveniently examined in court.” Fed. R. Evid. 1006. It is not, however, “an end

around to introducing evidence that would otherwise be inadmissible.” United States

v. Oros, 578 F.3d 703, 708 (7th Cir. 2009). Plaintiffs’ underlying inspection records

must be independently admissible, see id., even if they are not separately admitted

into evidence. See Fed. R. Evid. 1006 advisory committee’s notes on 2024 amendment

(“[A] properly supported summary may be admitted into evidence whether or not the

underlying voluminous materials reflected in the summary have been admitted.”).

       Hearsay is an out-of-court statement offered to prove the truth of the matter

asserted. Fed. R. Evid. 801(c). The property photographs contained in the database

are not “statements,” so they are not hearsay. 14 See Fed. Evid. 801(a) (defining

“statement” as “a person’s oral assertion, written assertion, or nonverbal conduct, if

the person intended it as an assertion”). Plaintiffs agree that the other inspection

records in the database are hearsay. [360] at 29.



14 Defendants also object because the photographs in the database have not been
authenticated. [408] at 17. Plaintiffs bear the burden at trial to establish authenticity, for
example, through testimony of a witness with knowledge. See Fed. R. Evid. 901(b)(1).

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      The business records exception to hearsay applies if a record of an act or event:

(1) “was made at or near the time by—or from information transmitted by—someone

with knowledge”; (2) “the record was kept in the course of a regularly conducted

activity of [an organization]”; (3) “making the record was a regular practice of that

activity”; (4) “all these conditions are shown by the testimony of the custodian or

another qualified witness”; and (5) “the opponent does not show that the source of

information or the method or circumstances of preparation indicate a lack of

trustworthiness.” Fed. R. Evid. 803(6). “Litigation generally is not a regularly

conducted business activity,” and documents prepared in anticipation of litigation

raise “serious trustworthiness concerns because there is a strong incentive to deceive

(namely, avoiding liability).” Jordan v. Binns, 712 F.3d 1123, 1135 (7th Cir. 2013);

see also Igasaki v. Illinois Dep’t of Fin. & Pro. Regul., 988 F.3d 948, 956 (7th Cir.

2021) (“[W]e presume the reliability of business records based on the lack of deceitful

incentive and the habitual accuracy implicit within regularity.”).

      Plaintiffs note that courts routinely admit fair housing testing evidence under

the business records exception. See, e.g., Fair Hous. Ctr. of Washtenaw Cnty., Inc. v.

Town & Country Apartments, No. 07-10262, 2009 WL 497402, at *5 (E.D. Mich. Feb.

26, 2009), as amended (Feb. 27, 2009); see NFHA v. Bank of Am., N.A., 2023 WL

2633636, at *13 (D. Md. Mar. 24, 2023) (overruling hearsay objection of the same REO

database because there was “no evidence of bad faith or untrustworthy

circumstances”). But in this case, defendants say the business records exception is

inapplicable because (1) alterations made to the original inspection forms defeat the



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contemporaneity requirement; (2) many records were created by the NFHA rather

than local plaintiffs who conducted the inspections; and (3) the records (including

photographs) were made in anticipation of litigation after plaintiffs filed their HUD

complaint. [316] at 18–19.

      The business records that plaintiffs seek to admit are the REO database

entries—not the original inspection forms or the entries submitted by the local

plaintiffs. Rule 803(6) doesn’t require a custodian or witness to have “personally

gathered” the record, they need only be familiar with the organization’s

recordkeeping practices. Thanongsinh v. Bd. of Educ., 462 F.3d 762, 777 (7th Cir.

2006) (internal citation marks omitted); Phoenix Assocs. III v. Stone, 60 F.3d 95, 101

(2d Cir. 1995) (business records exception requires only that ‘it was the business

entity’s regular practice to get information’ from the person who created the

document.”). Local plaintiffs and Lindsay Augustine (NFHA’s Senior Associate

Director of Enforcement and Investigations) testified as to the initial data entry

procedure. [398] ¶ 48. Augustine and another senior NFHA staff member testified to

NFHA’s subsequent review and standardization of the local database entries. [398]

¶¶ 48–68. So long as Augustine is familiar with each step of the REO database

process, it’s not fatal that some of the records were generated by NFHA rather than

the local organizations who conducted the physical investigations. Local plaintiffs

followed NFHA’s protocol to create database entries.

      •   First, a local plaintiff would create a new record for a property and input
          the property address, year built, date of visit, and lender information.

      •   Next, photographs taken during the inspection were uploaded. For
          photographs associated with a specific deficiency, the photograph was
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           uploaded with a drop-down menu where the deficiency would be selected
           (e.g., a photograph of a broken window would correspond with a “Structure”
           and “Damaged Windows (Broken or Boarded)” tag). For photographs not
           associated with an observed deficiency, the photograph was uploaded with
           a general description.

       •   After a photograph was uploaded and a deficiency was selected, the REO
           database “automatically tallied the total number of deficiencies observed at
           a property and arrived at a score for the property.”

[398] ¶¶ 50–58. Local plaintiffs typically entered information into the REO database

soon after the on-site investigation. 15 See [398] ¶ 51. Once a local plaintiff entered

information into the REO database, NFHA reviewed those entries and conducted a

quality-control review. [398] ¶ 61. NFHA compared property photographs to the

selected deficiencies and would make edits:

       •   Removing a marked deficiency if it was not visible in the photograph(s).

       •   Adding a deficiency if it was visible in the photograph(s) but not marked.

       •   Reviewing if the correct deficiency was selected. For example, if the
           investigator marked a deficiency as a “trespassing or warning sign” (a
           deficiency category), but the actual photograph showed a “winterization
           sign” (not a deficiency category), NFHA removed the deficiency.

[398] ¶¶ 62–65. NFHA typically conducted quality-control review shortly after a local

plaintiff uploaded the photographs and accompanying data. [398] ¶ 66. After NFHA’s




15 Defendants dispute that plaintiffs’ uploading process was always contemporaneous with

the property inspections. [398] ¶ 51. While NFHA conceded that certain edits were made
after the initiation of this litigation, the local plaintiff organizations attested that the upload
process was contemporaneous with inspections. That assertion hasn’t been refuted. For
example, Michelle Morgan of the Louisiana Fair Action Housing Center stated that she would
typically enter the inspection information into the database soon after the on-site inspection.
[369-8] at 218 (173:6–173:20) (“As time went on, we were very quick, usually it was the next
day. I think at the beginning, there was a little more of a lag time, couple of days, you know,
possibly a week. And then -- again, NFHA had wanted us to enter them sooner, and so I made
it my practice to enter it… typically the next day, after doing the investigations in the field.”).

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review and edits, the paper inspection forms were destroyed as a part of the

organization’s document retention policy. [362] ¶ 14; [370-6] at 446 (615:6–615:9).

      The contemporaneity requirement is satisfied so long as NFHA’s review (and

“creation” of the database entry) was conducted close to the time that the local

plaintiffs transmitted the inspection data. Plaintiffs concede 45 properties were

reviewed for quality control after plaintiffs brought this lawsuit. [369-9] at 2 (list of

properties). The database records for those 45 properties are inadmissible under Rule

803(6) because they were not made close in time to the local plaintiffs’ submission of

the data.

      Defendants contend that the database was created in anticipation of litigation,

so the business records exception does not apply. Plaintiffs assert—and defendants

do not dispute—that it is a regularly conducted activity of plaintiffs to conduct

investigations and document the results of those investigations with “testing records,

photographs, and other documentation.” [398] ¶ 23. So long as a qualified witness

testifies that each step in the process, including NFHA’s editing, was consistent with

the regular process of reviewing and documenting investigation data, the business

records exception may still apply. See United States v. Ary, 518 F.3d 775, 787 (10th

Cir. 2008) (finding that “no link in the trustworthiness chain was broken” where

museum curator testified to the process of transferring the museum’s paper records

to a computerized database and also testified to the process by which database

records were updated). Moreover, because of the availability of original REO property

photographs and Judge Leinenweber’s finding that plaintiffs’ document destruction



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was not in bad faith, I do not find that other circumstances of untrustworthiness

justify exclusion under Rule 803(6).

      The REO database records are admissible for purposes of summary judgment.

Plaintiffs still bear the burden to lay the proper foundation for the database records

to be admitted under Rule 803(6) at trial. See Wheatley v. Factory Card & Party

Outlet, 826 F.3d 412, 420–21 (7th Cir. 2016). They also bear the burden to establish

the authenticity of the REO property photographs. See Fed. R. Evid. 901. Finally,

excluding portions (or all) of the REO database as inadmissible hearsay would not

bar plaintiffs’ experts from relying on the database in forming their opinions if it is

the type of information reasonably relied upon by other experts in their field. See

United States v. Brownlee, 744 F.3d 479, 481–82 (7th Cir. 2014) (reiterating that an

expert witness may rely on inadmissible evidence as long as they do not merely

“parrot[] an out-of-court statement”).

      C.     Spoliation Issues

      During discovery, defendants moved for sanctions based on spoliation of

plaintiffs’ handwritten inspection forms. [225]. Defendants alleged that plaintiffs

destroyed original handwritten inspection forms after inputting the evidence into the

REO database and moved to exclude plaintiffs’ investigation evidence in its entirety.

[227]. Judge Leinenweber found that spoliation had occurred, but the record did not

support a finding of bad faith. See 2023 WL 5535313, at **1–2 (N.D. Ill. Mar. 29,

2023). The court credited plaintiffs’ explanation that (1) the notes were destroyed

because the information would be redundant after being entered into the database

and (2) the destruction of original forms was consistent with NFHA’s document
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retention policies. Id. at *2. The same conduct was at issue in Bank of America. See

[263-1]. There, the court determined spoliation had occurred but that a modest

sanction would be appropriate. “[D]efendants can cure much of the harm themselves:

they can attack the database’s accuracy by reference to the more than 30,000

photographs the plaintiffs produced, and they can test the objectivity of the plaintiffs’

metrics through independent witness examination. In the end, the problem is that

they will be doing so with incomplete information.” [263-1] at 16. To fill this gap, the

Maryland court would permit all parties to present argument and evidence at trial

regarding the spoliated surveys. [263-1] at 16. Judge Leinenweber concluded the

same sanction to be appropriate in this case. “All parties may present argument and

evidence regarding the spoliated notes at trial.” 2023 WL 5535313, at *3. Disputes

about the significance of the data in the original inspection forms are raised in

defendants’ pending motion to exclude Dr. Ian Ayres’s testimony and defendants’

expert Dr. Justin McCrary’s testimony. See below V.B.

      D.     Time-Barred Conduct

      Based on the Act’s two-year statute of limitations for private lawsuits, 42

U.S.C. § 3613(a)(1)(A), plaintiffs’ allegations were limited to conduct after February

26, 2012, for the Deutsche Bank defendants, and to conduct after February 14, 2015,

for Ocwen and Altisource. NFHA I, 2018 WL 6045216, at **3–5. Because plaintiffs

were on notice of defendants’ conduct as early as 2011, the continuing violation

doctrine did not apply. Judge Leinenweber declined to reconsider that holding. NFHA

II, 2019 WL 5963633, at *12. He noted, however, that plaintiffs would not be barred

from using defendants’ conduct outside the limitations period as evidence of
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discriminatory intent for conduct that occurred within the limitations period. Id.

(citing Malin v. Hospira, Inc., 762 F.3d 552, 561 (7th Cir. 2014)).

      Plaintiffs ask that I reconsider that holding in light of recent case law and new

information revealed during discovery. [360] at 64–66. Plaintiff cites to Fulton County

v. Wells Fargo & Co., No. 1:21-CV-1800-MLB, 2023 WL 2634042, at *6 (N.D. Ga. Mar.

23, 2023), where another district court held that the Act’s text does not support a

notice limitation to the application of the continuing violations doctrine. The Georgia

district court offers a different interpretation of the statute, but its decision is not

controlling, so there is no manifest error in Judge Leinenweber’s ruling. Plaintiffs

also cite to new information revealed during discovery demonstrating statistically

significant racial disparities throughout 2011 to 2017 as well as evidence of

defendants’ policies of value redlining and delegation of discretion dating back to

2011. [360] at 65–66. This information does not alter the factual basis underlying the

previous rulings. Judge Leinenweber found that plaintiffs were on notice of violations

in 2011 when they held a press conference and published a report; he remained

unpersuaded by inconsistent allegations in the amended complaint that suggested

this knowledge wasn’t specific to the Deutsche Bank-owned properties. NFHA II,

2019 WL 5963633, at *12. I defer to that finding now.

V.    Motions to Exclude Expert Testimony

      Defendants move to exclude seven of plaintiffs’ expert witnesses: Dr. Ian Ayres,

Pamela Kisch, Albert Poche, Dr. Stacy Seicshnaydre, Deavay Tyler, Dr. Elizabeth

Korver-Glenn, and Dr. Timothy Guetterman. See [303], [305], [307], [318], [323],



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[326], [327]. Plaintiffs move to exclude four of defendants’ expert witnesses: Dr. David

Skanderson, Marcel Bryar, Sharon Stedman, and Mark Linné. [311]. Because ruling

on the admissibility of defendants’ expert witnesses is not essential to resolving the

pending motions for summary judgment, [316] at 11–12, I deny plaintiffs’ motions

without prejudice to renewal if necessary. Defendants do not dispute that plaintiffs

are entitled to some damages should they prevail on liability, but they dispute the

scope of recovery. [316] at 11, 39–54. Because determining damages is not essential

to resolving liability at this stage, I deny defendants’ motion to exclude plaintiffs’

damages expert, Stacy Seicshnaydre, without prejudice to renewal if necessary.

      A.     Legal Standards

      Under Federal Rule of Evidence 702 and Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (1993), expert testimony is admissible only if

relevant and reliable. Rule 702 and Daubert require me to evaluate: “(1) the proffered

expert’s qualifications; (2) the reliability of the expert’s methodology; and (3) the

relevance of the expert’s testimony.” Gopalratnam v. Hewlett-Packard Co., 877 F.3d

771, 779 (7th Cir. 2017). “The focus is on the expert’s methodology, not [their]

ultimate conclusions.” Kopplin v. Wisconsin Cent. Ltd., 914 F.3d 1099, 1104 (7th Cir.

2019). My role is to be an evidentiary gatekeeper, determining whether the proposed

expert testimony crosses the threshold of admissibility, but I may not take the place

of the jury to decide issues of credibility or accuracy. Artis v. Santos, 95 F.4th 518,

527 (7th Cir. 2024) (quoting Lapsley v. Xtek, Inc., 689 F.3d 802, 805 (7th Cir. 2012)).

The party seeking to introduce the expert testimony bears the burden of establishing

that it satisfies the Daubert standard. Gopalratnam, 877 F.3d at 782. If expert
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testimony crosses the threshold, “[v]igorous cross-examination, presentation of

contrary evidence, and careful instruction on the burden of proof” are the appropriate

tools to challenge the evidence. Daubert, 609 U.S. at 596.

      An expert may be qualified by their “knowledge, skill, experience, training, or

education.” Fed. R. Evid. 702. “Whether a witness is qualified as an expert can only

be determined by comparing the area in which the witness has superior knowledge,

skill, experience, or education with the subject matter of the witness’s testimony.”

Gayton v. McCoy, 593 F.3d 610, 616 (7th Cir. 2010) (citing Carroll v. Otis Elevator

Co., 896 F.2d 210, 212 (7th Cir. 1990)). Reliability hinges on “the validity of the

methodology employed by an expert, not the quality of the data used in applying the

methodology or the conclusions produced.” Manpower, Inc. v. Ins. Co. of

Pennsylvania, 732 F.3d 796, 806 (7th Cir. 2013). Factors that bear on reliability

include: (1) whether the particular theory or technique can be and has been tested;

(2) whether the theory has been subjected to peer review and publication; (3) the

known or potential rate of error; (4) the existence and maintenance of standards

controlling the technique’s operation; and (5) whether the theory or technique is

generally accepted in the relevant scientific or expert community. See Anderson v.

Raymond Corp., 61 F.4th 505, 509 (7th Cir. 2023). An expert’s testimony is relevant

if it “will assist the trier of fact with its analysis of any of the issues involved in the

case.” Smith v. Ford Motor Co., 215 F.3d 713, 718 (7th Cir. 2000).

      An expert is generally barred from offering legal opinions. See Jimenez v. City

of Chicago, 732 F.3d 710, 721 (7th Cir. 2013) (“It is the role of the judge, not an expert



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witness, to instruct the jury on the applicable principles of law, and it is the role of

the jury to apply those principles of law to the facts in evidence.”). But an expert “may

offer [their] opinion as to facts that, if found, would support a conclusion that the legal

standard at issue was satisfied” so long as they do not testify “as to whether the legal

standard has been satisfied.” Burkhart v. Washington Metro. Area Transit Auth., 112

F.3d 1207, 1212–13 (D.C. Cir. 1997). Expert testimony that merely states legal

conclusions is separately excludable because it is unhelpful to the jury. Fed. R. Evid.

702(a); United States v. Richter, 796 F.3d 1173, 1195–96 (10th Cir. 2015) (“[A]n expert

may not simply tell the jury what result it should reach without providing… any

means by which the jury can exercise independent judgment.”). Exclusion is

appropriate when an expert uses a term with “a separate, distinct and specialized

meaning in the law” apart from its vernacular meaning. Torres v. Cnty. of Oakland,

758 F.2d 147, 151 (6th Cir. 1985).

      The Fair Housing Act provides the applicable legal standards in this case. The

parties’ experts may not testify as to the meaning or purpose of the Act. See Antrim

Pharms. LLC v. Bio-Pharm, Inc., 950 F.3d 423, 430 (7th Cir. 2020) (an expert is

barred from testifying on “pure issues of law, such as the meaning of statutes or

regulations”). They are also barred from applying the law to the facts of this case to

conclude certain conduct violated the Act. See Good Shepherd Manor Found., Inc. v.

City of Momence, 323 F.3d 557, 564 (7th Cir. 2003) (affirming exclusion of expert’s

legal conclusions that city’s actions violated the FHAA). Many terms carry legal

weight in the context of the Act, and expert testimony relying on such terms may be



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inadmissible. See United States v. Perkins, 470 F.3d 150, 158 (4th Cir. 2006)

(“[C]onclusory testimony that a company engaged in ‘discrimination,’ that a landlord

was ‘negligent,’ or that an investment house engaged in a ‘fraudulent and

manipulative scheme’ involves the use of terms with considerable legal baggage.”);

Torres, 758 F.2d at 151 (“Discrimination… has specialized meaning in the law and in

lay use the term has a distinctly less precise meaning.”); Babb v. Maryville

Anesthesiologists P.C., 942 F.3d 308, 317 (6th Cir. 2019) (“pretext” or “discrimination”

carries specialized meaning in the disability discrimination context).

      B.     Dr. Ian Ayres

             1.     Background

      Ayres, plaintiffs’ statistical expert, is a law professor and economist at Yale

Law School. [340-1] at 10. Ayres conducted a statistical analysis of plaintiffs’

inspection data and opines that Deutsche Bank-owned REO properties in non-white

neighborhoods were more likely to have maintenance and marketing deficiencies

than Deutsche Bank-owned REO properties in majority-white neighborhoods with

similar characteristics. [340-1] at 12. They conducted two regression analyses

showing statistically significant disparities between REO properties in white and

non-white communities: (1) an analysis of deficiencies that controlled for non-race

variables that showed REO properties in non-white neighborhoods had more

deficiencies than properties in white communities and (2) an analysis of the decline

in value of REO properties during the foreclosure lifecycle that showed a greater




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number of deficiencies was associated with a greater value decline of properties in

non-white block groups compared to white block groups. 16 [340-1] at 12–13.

       Ayres relied on the following sources: plaintiffs’ investigation data of 1,276

properties; servicing data limited to 699 REO properties that Ocwen acknowledged

servicing and Altisource managed during the investigation period, which included

appraisals and valuations of properties, the date the property became REO, and the

date the property was sold; U.S. Census Bureau Data from 2010; and third-party

county recorder data, county assessor data, and community data from ATTOM Data

Solutions, which included historical information on property sales, identities of

sellers and buyers, mortgage information, and property characteristics collected by

municipalities. [340-1] at 25–27.

       Ayres began with a full set of 1,276 properties and whittled the sample to

subsets. To start, they identified properties owned by Deutsche Bank at the time of

plaintiffs’ inspection. [340-1] at 27–28. Ayres recognized that plaintiffs’ data set

might be overinclusive of properties that were sold between the time plaintiffs

identified them and the date of the inspection or before a property’s sale was publicly

recorded. They classified 893 properties as being owned by Deutsche Bank if the

inspection date was on or after the REO date or sale date. If those dates were not

available, they used third-party data from ATTOM to identify start and end dates of

Deutsche Bank’s ownership. [340-1] at 28. Then, Ayres further excluded 68 properties



16 Ayres classified a Census block group as a “white” block group if at least 50% of the 2010

population was non-Hispanic white alone and a Census block group as a “non-white” block
group if less than 50% of the 2010 population was non-Hispanic white alone. [340-1] at 26.

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identified on a list of 139 disputed properties in metropolitan areas not at issue in

this case. [340-1] at 28–29. Next, Ayres identified a subset based on the 699 agreed-

upon property list serviced by Ocwen and Altisource. [340-1] at 29. Finally, Ayres

distinguished each subset of properties by inspection dates, accounting for Judge

Leinenweber’s ruling on the statute of limitations: (1) all inspection dates (May 25,

2011 – May 21, 2018); (2) inspections on or after February 26, 2012; and (3)

inspections on or after February 14, 2015. [340-1] at 29.

      Ayres ran a regression based on each subset of properties, controlling for 85

non-race variables in the initial regression analysis. [340-1] at 34. Some of the

explanatory, non-race variables included: the age of the home, the size of the home or

property lot, the length of time the property had been owned by the lender, the year

and season of the inspection, neighborhood property crime rates, and neighborhood

home values. [340-1] at 33–34.

      Across all samples, Ayres found that deficiencies in REO properties in non-

white block groups were greater than the number observed in white block groups and

that those differences were statistically significant even when controlling for non-

race factors. [340-1] at 33–38. They found that plaintiffs’ inspection data “in

conjunction with property records and Census data, shows that REO properties in

minority neighborhoods had a statistically significant greater number of deficiencies

in routine maintenance and marketing than similarly situated REO properties in

White neighborhoods.” [340-1] at 38. Ayres concludes that these findings are




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consistent with the hypothesis that defendants engaged in “race-contingent

practices” alleged by plaintiffs.

      Ayres also performed a logistic regression analysis to measure the explanatory

variables’ effect on an REO property having at least ten deficiencies, expressed as an

“odds ratio.” [340-1] at 38. They found that REO properties in non-white block groups

were more likely to have at least ten deficiencies than properties in white block

groups; these results were statistically significant even when controlling for non-race

factors. [340-1] at 38–42. Ayres concludes that these findings were consistent with

plaintiffs’ hypothesis. [340-1] at 42.

      Ayres then examined the relationship between changes in REO property

values, neighborhood race, and deficiencies. [340-1] at 42–43. Based on their review

of servicer-limited data (699 agreed-upon properties), Ayres opines that REO

properties in non-white neighborhoods experienced greater declines in real property

value during the foreclosure and REO processes than those in white neighborhoods.

[340-1] at 43. They examined price changes over four windows of time during the

foreclosure process: (1) origination of mortgage through REO sale; (2) first pre-

foreclosure appraisal through REO sale; (3) first pre-foreclosure appraisal through

last post-foreclosure appraisal; and (4) last pre-foreclosure appraisal through REO

sale. [340-1] at 44–46. Ayres found statistically significant relationships between

deficiencies and property value declines across all four windows. [340-1] at 48. They

opine that these findings are consistent with plaintiffs’ allegations that defendants’

maintenance deficiencies drove the decline in property values. [340-1] at 50.



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      In a supplemental report, Ayres addressed whether legitimate business

justifications could explain disparities in the deficiencies observed in non-white

neighborhoods. [340-2]. In their rebuttal report, Ayres conducted a review of property

photographs and addressed defendants’ criticisms with revised regression models.

[340-9].

      Defendants move to exclude Ayres’s expert testimony in its entirety (including

deposition testimony) and to strike Ayres’s most recent November 2023 declaration

as untimely. [323], [406].

             2.     Motion to Strike Ayres’s November Declaration

      Plaintiffs attached the Ayres Declaration to their Local Rule 56.1 statement of

additional facts on November 17, 2023, in response to defendants’ joint motion for

summary judgment. See [351-1] at 623–74. In their declaration, Ayres responds to

arguments raised in defendants’ summary-judgment filings related to the proper

subset of REO properties included in their analyses. Defendants submitted a

declaration by counsel for defendants identifying groups of properties that were not

titled to Deutsche Bank, subject to master-servicer agreements authorizing

termination of Ocwen as a servicer, or subject to termination of Ocwen as a servicer

based on third-party consent. [320-1] at 2–28. Ayres recalculated regression analyses

excluding each of these three subsets identified by defendants and found that the

exclusion of these properties did not change their original conclusions. [351-1] at 629.

Defendants move to strike the declaration arguing that plaintiffs did not seek leave

to file an additional expert report, the declaration is a new expert report in the guise



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of a supplemental report, and that its introduction would unfairly prejudice them at

this late stage. [407].

       Rule 26(a)(2)(D) requires parties to make expert witness disclosures “at the

time and in the sequence that the court orders.” Fed. R. Civ. P. 26(a)(2)(D). Rule

37(c)(1) provides automatic sanctions for untimely disclosures. “If a party fails to

provide information… as required by Rule 26(a) or (e), the party is not allowed to use

that information… to supply evidence on [a motion or at trial], unless the failure was

substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1). In determining

whether a Rule 26(a) violation was substantially justified or harmless, I may

consider: “(1) the prejudice or surprise to [defendants]; (2) the ability of [defendants]

to cure the prejudice; (3) the likelihood of disruption to the trial; and (4) the bad faith

or willfulness involved in not disclosing the evidence at an earlier date.” David v.

Caterpillar, Inc., 324 F.3d 851, 857 (7th Cir. 2003). “The determination of whether a

Rule 26(a) violation is justified or harmless is entrusted to the broad discretion of the

district court.” Mid-Am. Tablewares, Inc. v. Mogi Trading Co., 100 F.3d 1353, 1363

(7th Cir. 1996).

       Judge Leinenweber amended the scheduling order for expert witness discovery

several times. [255] (initial scheduling order); [257]; [261]; [269]. The final amended

scheduling order required Ayres’s initial written report to be submitted by October

13, 2022, [259], and their rebuttal report by April 26, 2023. [287]. Plaintiffs did not

seek leave to file the Ayres Declaration, but they say that the November 2023




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declaration is a supplement under Rule 26(e) that addresses factual assertions raised

for the first time by defendants in their attorney’s declaration. [410].

      Plaintiffs submitted the Ayres Declaration after the court’s deadline for expert

disclosures, so I deem it untimely under Rule 26(a). Plaintiffs characterize the

declaration as a supplement. But a supplement under the meaning of Rule 26(e)(1)(A)

supplements or corrects disclosures that are in some material respect “incomplete or

incorrect.” Fed. R. Civ. P. 26(e)(1)(A). The declaration includes new regression

analyses that may be consistent with Ayres’s past testimony and their bottom-line

conclusions may be unchanged, but it nevertheless presents new calculations based

on a new data set. Moreover, the revised calculations and accompanying analysis

exceeds 50 pages. [351-1] at 623–74. The declaration is more appropriately

characterized as a rebuttal report that defuses defendants’ criticisms. See Peals v.

Terre Haute Police Dep’t, 535 F.3d 621, 630 (7th Cir. 2008) (“The proper function of

rebuttal evidence is to contradict, impeach or defuse the impact of evidence offered

by an adverse party.”). Without leave from this court to file an additional expert

report after the deadline, the declaration is untimely.

      Rule 37(c)(1) bars untimely disclosures unless substantially justified or

harmless. I find that neither exception applies. Plaintiffs contend that the declaration

is substantially justified to address new arguments raised in defendants’ Local Rule

56.1 statements related to the proper data set of properties. Because defendants did

not raise this argument through their experts and instead attempt to do so through

an attorney, plaintiffs point out that Ayres never had the opportunity to offer revised



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regressions through rebuttal. To the extent that defendants rely on their counsel

rather than their own experts to attack plaintiffs’ data sets, plaintiffs need not rebut

defendants’ Rule 56.1 statement with revised regression analyses. Given the nature

of the attorney declaration, plaintiffs’ response is not sandbagging defendants. See

Berkheimer v. Hewlett-Packard Co., No. 12 C 9023, 2016 WL 3030170, at *5 (N.D. Ill.

May 25, 2016) (supplementation under Rule 26(e) “does not give license to sandbag

one’s opponent with claims and issues which should have been included in the expert

witness’ report”) (citation omitted). Still, I find that defendants would be prejudiced

by being unable to respond to Ayres’s revised regression analyses. And curing that

prejudice would come at the cost of defendants reengaging expert witnesses. Finally,

I decline to reopen expert discovery at this late stage of the case, which would further

delay this years-long litigation. The dispute between the parties’ experts involves

competing statistical models and data sets that lend itself to endless iterations of

regression analyses. At some point, that back-and-forth must come to an end.

Defendants’ motion to strike Ayres’s November declaration, [406], is granted.

             3.     Deficiency Analysis

      The parties do not dispute Ayres’s qualifications, nor do they dispute that

multiple regression analysis is an appropriate statistical method to employ in this

case. Defendants challenge Ayres’s deficiency analysis for their: (1) opinion on the

quality of data; (2) reliance on an “unedited data” set; (3) review of property

photographs to rebut claims of bias; (4) and use of data sets that aggregate

defendants’ conduct with non-party actors. [400] at 4–5.



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      Some of defendants’ objections to Ayres’s testimony go to the accuracy and

quality of the data underlying the regression analyses rather than the methodology

they used. My role is not to second-guess the quality of the data that Ayres or other

experts in this case relied on—admissibility depends on whether “there is sufficient

data to justify the use of the methodology.” Stollings v. Ryobi Techs., Inc., 725 F.3d

753, 765 (7th Cir. 2013). The Daubert inquiry is concerned with the expert’s use of

the data whereas issues about quality or accuracy typically go to the factual

underpinnings of an expert’s testimony and are reserved for the jury. See Manpower,

732 F.3d at 809 (“Assuming a rational connection between the data and the opinion…

an expert’s reliance on faulty information is a matter to be explored on cross-

examination; it does not go to admissibility.”). “In the quantitative sense, sufficient

facts or data means that the expert considered sufficient data to employ the

methodology.” Gopalratnam, 877 F.3d at 781 (internal quotation marks omitted). To

be qualitatively sufficient, “an expert must employ ‘those kinds of facts or data’ on

which experts in the field would reasonably rely.” Id.

      The proper inquiry is whether plaintiffs’ deficiency data is the type of data that

experts in Ayres’s field reasonably rely on. Ayres testified that they were not asked

to opine on the accuracy or representativeness of plaintiffs’ inspection data, but they

represented that they “did review evidence, including reports of plaintiffs’ experts, to

look for indicia of survey quality… that would be a standard part of trying to assess

whether it was reasonable for me to undertake the kinds of analyses that I have

done.” [340-3] at 32:19–33:7; see also [340-1] at 10 n. 7 (citation to expert reports of



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Guetterman, Kisch, Tyler, and Poche). Defendants say Ayres’s testimony is

contradictory because it offers an opinion on the accuracy of plaintiffs’ data. [324] at

8–9. Read in context, Ayres’s conclusions about plaintiffs’ data are not opinions about

its accuracy but attestations as to the sufficiency of data. See [340-3] at 33:4–33:7

(referring to “sufficient indicia quality to make what I did fall within the norms of the

social science profession.”). Defendants also say Ayres did not undertake any analysis

related to the “indicia” of data “quality,” but Ayres adequately states the bases for

their conclusion throughout their testimony. See, e.g., [340-3] at 33:10–33:13 (listing

“the training materials” and “the expert testimony… concluding that the methodology

was well designed and had adequate quality control”), 44:1–44:4 (“[T]hey preserved

the thousands of photographs that are available for subsequent researchers and

litigants to test, and… that preservation of the raw data is an important indicia.”).

Ayres relied on the type of data generally accepted in their field.

      Similarly, the parties’ dispute about an “unedited” dataset goes to the accuracy

of the underlying data. Defendants’ expert Justin McCrary opines that plaintiffs’ data

is fundamentally unreliable because of data changes to plaintiffs’ original inspection

forms. [340-4] at 23–31. McCrary created a subset of 267 properties for which original

inspection forms still existed. [340-4] at 24. He found that changes from handwritten

forms to plaintiffs’ deficiency data were not evenly distributed among white and

majority minority neighborhoods. [340-4] at 25. He then applied Ayres’s regression

analyses with the same controls and found that the statistically significant




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relationship between neighborhood race and number of deficiencies disappeared.

[340-4] at 25–28.

      In rebuttal to McCrary, Ayres noted that (1) original photographs taken by

inspectors existed to support observations of deficiencies and (2) they understood the

changes made to the inspection forms to be a result of a quality control process. [340-

9] at 25–26. Ayres noted that recording, editing, and coding inspection data is a

generally accepted protocol to ensure accuracy and consistency before survey data

can be analyzed. They also explained that “[w]hen underlying evidence supporting

the data is available, as is present in this case through photographs taken by

inspectors, this underlying, direct evidence can best ensure the accuracy and

consistency of the quality control process and the coded data.” [340-9] at 26. Ayres

referenced Guetterman’s and Tyler’s separate reviews of plaintiffs’ photographs and

deficiency data in the inspection database. Separate from those photograph reviews,

Ayres ran regressions on properties “for which no edits were made to the data after

the deficiencies were originally recorded in Plaintiffs’ database.” [340-9] at 27. Ayres

categorized a property as unedited “if every record in the Deficiency Log for that

property has the same creation date, the same creator name, and, if any edits are

present, those edits were all made on the same date as the creation date by the same

editor as the record creator.” [340-9] at 27. Based on revised regression analyses on

the 256 properties (“Unedited Property Sample”), Ayres maintains that racial

disparities remain robust and statistically significant. [340-9] at 28.




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      Defendants take issue with Ayres’s unedited property set, arguing that Ayres

merely “took Plaintiffs’ word for it.” [400] at 12. In justifying the use of plaintiffs’

inspection data, Ayres accepted that plaintiffs’ data edits were the result of a

standard quality-control process. Ayres’s concerns were also mitigated by the

existence of original property photographs to confirm the accuracy of the data.

Defendants say this an unreliable use of data because Ayres should have

independently verified information provided by plaintiffs before using it. See [400] at

12 (citing King-Indiana Forge, Inc. v. Millennium Forge, Inc., No. 07-cv-341, 2009 WL

3187685, at *2 (S.D. Ind. Sept. 29, 2009)). Defendants’ cited case references the

general principle that testimony from an expert witness who “merely parrots

information provided” by a party should be excluded. King-Indiana Forge, 2009 WL

3187685, at *2. In King-Indiana Forge, the court barred a damages calculation

proffered by plaintiff’s expert because the expert relied entirely on calculations for

costs incurred provided by a manager at plaintiff’s company. Id. The court

acknowledged that the expert could rely on outside information, but his conclusions

were unreliable because he did not independently review the information and

formulate calculations consistent with his expertise. Id. Here, Ayres relied on

plaintiffs’ data, but they chose the parameters for data selection and performed

independent regression analyses. “An expert is of course permitted to testify to an

opinion formed on the basis of information that is handed to rather than developed

by him—information of which he lacks first-hand knowledge and which might not be

admissible in evidence no matter by whom presented.” Matter of James Wilson



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Assocs., 965 F.2d 160, 172–73 (7th Cir. 1992). But that latitude isn’t boundless. An

expert may not simply serve as the “mouthpiece” of another expert or witness. See

Dura Auto. Sys. of Indiana, Inc. v. CTS Corp., 285 F.3d 609, 614 (7th Cir. 2002);

James Wilson, 965 F.2d at 173 (finding that an architecture expert who consulted an

engineer “could not testify for the purpose of vouching for the truth” of what the

engineer told him). Ayres selected an “unedited property” data set based on their own

selection criteria before conducting the regression analyses. See [340-9] at 27

(including properties where deficiency log showed the “same creation date, the same

creator name, and, if any edits are present, those edits were all made on the same

date as the creation date by the same editor as the record creator”). Defendants’

expert McCrary offers a different “unedited property” set based on comparisons

between original handwritten inspection forms and plaintiffs’ inspection database

conducted by his team. [340-4] at 24.

      The parties’ disagreement on the proper “unedited data set” goes to the factual

underpinnings of Ayres’s statistical analysis. Manpower, 732 F.3d at 809 (whether

an expert “selected the best data set to use” is a question for the jury). A jury is

entitled to conclude that plaintiffs’ inspection database is riddled with problems that

cast serious doubts on its accuracy—doubts that may be compounded by the absence

of original inspection forms. 17 See Stollings, 725 F.3d at 766 (“An expert may provide

expert testimony based on a valid and properly applied methodology and still offer a




17 As discussed above, the spoliation of plaintiffs’ handwritten inspection forms goes to
credibility but does not warrant exclusion of the database.

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conclusion that is subject to doubt.”). Nevertheless, Ayres relied on a generally

accepted type of data and employed a reliable method to opine that statistical

disparities persist. That is the focus of the Daubert inquiry. Ayres’s analysis related

to the unedited property set is admissible.

       Defendants also seek to exclude Ayres’s analysis of property photographs. [324]

at 9–13. In their rebuttal, Ayres conducted a race-blind review of front-view

photographs of randomly sampled properties to address criticisms of plaintiffs’

investigation data. [340-7] at 11–23. Ayres directed two consultants to review front-

view photos of REO properties to score 26 deficiencies. [340-7] at 16–17. The

consultants were trained in plaintiffs’ deficiency identification methodology by

NFHA’s Lindsay Augustine. [340-7] at 17. Based on the coders’ deficiency scoring,

Ayres opines that “statistically significant disparities in deficiencies continue to exist

when standardized non-subjective photos are reviewed by race-blind coders.” [340-7]

at 19–20. In reviewing photographs, Ayres’s emphasized that their findings did not

depend on Guetterman’s and Tyler’s photograph reviews of REO properties. [340-7]

at 21. Defendants do not object to Ayres’s qualifications or the methodology of the

photo review and coding, but they say Ayres’s statistical analysis is unreliable and

potentially misleading to a jury because it does not use any of the control variables

applied in the primary regression analyses. [324] at 10. Plaintiffs say this misses the

point of the front-photo review, which purports to address accusations of bias in

deficiency scoring rather than demonstrate that race explains the observed

disparities. [355] at 13.



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       Plaintiffs’ justification about the purpose of Ayres’s front-photo review has

little bearing on whether the statistical analysis is reliable and supports Ayres’s

bottom-line conclusion. Based on the front-photo review, Ayres’s opines that some

deficiencies were more likely to be observed in front-view photos of non-white block

group properties than in white block group properties. [340-7] at 20. That is still a

conclusion about the statistical relationship between neighborhood race and

deficiencies. Typically, an expert’s “failure to include variables will affect the analysis’

probativeness, not its admissibility.” Bazemore v. Friday, 478 U.S. 385, 400 (1986)

(Brennan, J., concurring). But Ayres’s primary regression analyses controlled for a

panoply of variables not controlled for in this regression. This renders Ayres’s

statistical analysis of the front-view photographs unreliable. This portion of Ayres’s

testimony is excluded.

       Finally, defendants argue that Ayres’s statistical regressions are unreliable

because they rely on “jumbled, agglomerated data” that fails to distinguish

defendants’ practices from non-party actors. [400] at 14–20. In County of Cook v. Wells

Fargo & Co., the court considered the admissibility of an expert statistician’s

testimony in a discriminatory mortgage lending case brought under the Fair Housing

Act. 2022 WL 17752387, at **5–8 (N.D. Ill. Dec. 19, 2022) (Feinerman, J.). Plaintiff

Cook County’s expert statistician sought to opine that, “Wells Fargo originated loans

on less favorable terms to, and was more likely to foreclose on, minority borrowers

than white borrowers.” Id. at *5. The statistician performed regression analyses

based on a pool of 350,000 loans originated or purchased by Wells Fargo (and



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Wachovia Bank, which Wells Fargo acquired). Id. The court identified a critical flaw

with the expert’s data set that permeated his methodology:

      The amalgamation of different categories of loans—(1) those that Wells Fargo
      originated but sold and did not service, (2) those that Wells Fargo purchased
      and serviced but did not originate, and (3) those that Wells Fargo both
      originated and serviced—casts serious doubt on the ability of [the expert’s]
      analysis to reliably determine whether the company engaged in discriminatory
      practices and, if so, the extent to which those practices impacted loans made to
      minority borrowers in Cook County.

Id. at *6. The County’s expert could not identify any other lending studies or

approaches that combined loans originated by an entity and loans purchased by that

entity. Id. In fact, federal guidance advised examiners analyzing potential disparities

in loan terms to “tailor their sample and subsequent analysis to the specific factors

that the institution considers when determining its pricing, terms, and conditions.”

Id. The County’s expert ran afoul of generally accepted methodology by aggregating

loans across originating and servicing entities that might employ different

parameters for mortgage lending and servicing decisions than Wells Fargo. Id.

Because the expert’s analysis encompassed the conduct of other entities rather than

singling out Wells Fargo, the court found his analysis could not support a finding

specific to Wells Fargo. Id. at **7–9.

      Another court excluded Cook County’s experts for substantially similar

reasons in its case against Bank of America. See Cnty of Cook v. Bank of Am. Corp.,

584 F.Supp.3d 562, 584 (N.D. Ill. 2022) (Bucklo, J.), aff’d sub nom. Cnty. of Cook v.

Bank of Am. Corp., 78 F.4th 970 (7th Cir. 2023) (“[The expert’s] inclusion of loan data

that is not probative of defendants’ practices (as opposed to other lenders’ practices)



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in an analysis putatively designed to ascertain the impact of defendants’ practices on

various populations is indeed a methodological flaw.”).

      Defendants assert that the same data aggregation problems identified in

County of Cook v. Wells Fargo plague Ayres’s methodology in this case. Defendants

say Ayres impermissibly aggregated data across multiple different property owners,

servicers, master servicers, and maintenance companies. [324] at 15–18. The data

aggregation concerns raised in that case are instructive, but it’s worth noting the

differences between the discriminatory lending and servicing conduct at issue in that

case and the discriminatory maintenance practices challenged here. In County of

Cook v. Wells Fargo, the Bank’s alleged predatory and discriminatory practices began

at the point of loan origination (e.g., higher interest rates and less favorable loan

terms such as prepayment penalties and balloon payments) and extended to

discriminatory servicing practices (e.g., denial of loan modification requests). 2022

WL 17752387, at **1–2. It was a clear problem, then, that the loan data included

loans that Wells Fargo originated but later sold and was serviced by another entity,

loans that Wells Fargo purchased from another entity and merely serviced, and loans

that Wells Fargo both originated and serviced. That data set cast far too wide of a net

on discriminatory origination and servicing practices by entities other than Wells

Fargo. Here, plaintiffs seek to introduce Ayres’s analysis to prove discriminatory

maintenance practices. In this sense, the universe of discriminatory decisions

plaintiffs seek to measure is more confined. To start, Ayres’s “full analysis sample”

includes only properties owned by the Deutsche Bank defendants at the time of



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plaintiffs’ inspection. Defendants argue that Deutsche Bank National Trust Company

and Deutsche Bank Trust Company Americas are separate legal entities, but the

Deutsche Bank defendants concede that the same “policies, practices, and

documents” applied irrespective of the specific Deutsche Bank entity acting as

trustee. [405] ¶ 81. Here, there’s no issue of improper aggregation across different

property owners. Deutsche Bank is the only “owner” whose conduct should be

measured, and the data is properly tailored to exclude properties titled to other

banks.

      Ayres’s “full analysis sample” includes properties that were not managed by

Altisource or serviced by Ocwen. Relying on the full sample to trace alleged

discriminatory maintenance practices to Altisource and Ocwen would capture the

conduct of other servicer entities and render those conclusions unreliable, but Ayres’s

analysis further identified a subset of 699 “agreed-upon properties.” [340-1] at 23–24.

At this point in the chain, the parties dispute whether, and to what degree, Deutsche

Bank should be held liable for the conduct of the servicing defendants, Ocwen and

Altisource, and other non-party servicers. There is a legal dispute about agency and

authority under the parties’ contracts, but that is not a methodological flaw in data

aggregation. In County of Cook v. Wells Fargo, the court rejected the County’s

successor liability theory to hold the Bank liable for loans purchased from lenders

that discriminatorily originated them (even if Wells Fargo acted properly in servicing

them) because it had no support; nor would a successor liability theory explain how

Wells Fargo might be liable for discriminatory servicing decisions for properly



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originated loans that were sold to other entities to service. 2022 WL 17752387, at *7.

The court also rejected a theory of aiding-and-abetting liability as unsupported by the

law. Id. at *8. But the court accepted the County’s appeal for successor liability as to

loans obtained through its acquisition of Wachovia Bank—those loans could be

properly included in the data set. Id. Here, plaintiffs’ theory of vicarious liability links

Deutsche Bank’s conduct to the maintenance practices of servicing entities. If that

theory is viable, there is no methodological concern raised by deficiency data that

aggregates across master-servicers and servicers. See below VI.B.1. That chain in

discretion and delegation is what plaintiffs seek to establish.

              4.     Value-Drop Analysis

       Defendants challenge Ayres’s value-drop analysis because the time periods

Ayres analyzed included substantial periods prior to foreclosure, i.e., before any

defendant maintained the property and could have influenced maintenance and

marketing activities. This is critical, defendants say, because (1) the run-up to a

foreclosure is particularly destructive for property values in non-white block groups

and (2) comparative value-decline trend reverses after the servicer gains access to the

property to begin maintenance. [324] at 7. Defendants’ expert Skanderson replicated

Ayres’s property value regression based solely on post-REO valuation data

(comparing the first post-REO valuation to the REO sale) and found that no

statistically significant relationship existed between the number of deficiencies and

changes in property values. [340-13] at 76. Defendants assert that Ayres had at their

disposal post-foreclosure valuation data that would permit a fifth window capturing

the time when the properties were under defendants’ control. [324] at 7.
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      In rebuttal, Ayres adjusted the fourth window (the last pre-foreclosure

appraisal through REO sale date) to properties with a latest pre-foreclosure valuation

within 30 days, 60 days, or 90 days of the REO date. [340-7] at 85. The results of the

regression analyses for the 60-day and 90-day window remained statistically

significant, but the results for the narrowest 30-day window was not. [340-7] at 87.

Ayres rejected the suggestion of a fifth window limited to post-REO valuations as

being affected by defendants’ conduct and further critiqued Skanderson’s analysis for

using a window of more than three months between the REO date and first post-

foreclosure appraisal. [340-7] at 89.

      The dispute about the proper window to reliably capture the effect of

defendants’ maintenance on property values rests in part on factual and legal

disputes raised in the Deutsche Bank defendants’ motion for summary judgment. The

parties disagree about when Deutsche Bank became responsible for the maintenance

of a property, that is to say, what point in time it is appropriate to attribute property

maintenance deficiencies to the Bank. Defendants assert that they could not conduct

any property maintenance before a property entered REO status and was vacated;

therefore, a reliable analysis must be limited to the time period after a property

becomes an REO. But plaintiffs assert that defendants bore responsibility for

maintenance before the property entered REO status. [355] at 9. And as a factual

matter, they point out that Ayres relied on Ocwen’s and Altisource’s own appraisals

and valuations for the properties during the pre-foreclosure process and during the

period it was in REO status. They also note that plaintiffs began collecting deficiency



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data after the properties became vacant and defendants were responsible (under

plaintiffs’ theory of vicarious liability) for maintaining the properties. [355] at 10. If

defendants had no ability to control a property before it entered REO status, then

Ayres’s regression necessarily includes a period of time during which defendants

could not have affected REO conditions or would not have been responsible for REO

conditions. Either condition could make the value-drop analysis unreliable and

excludable. For now, I view the facts in the light most favorable to plaintiffs and draw

inferences in their favor, which would likely make this piece of Ayers’s analysis a

matter for cross-examination and impeachment. But resolving the issue of disparate-

impact liability does not depend on the admissibility of the value-drop analysis. See

below VI.B. I defer a final ruling on whether this part of Ayres’s testimony passes the

Rule 702 threshold.

      The following portions of Ayres’s testimony are excluded: regression analyses

in the November Declaration and their review of property photographs. Ayres’s

deficiency analysis is admissible. Though defendants do not raise this objection,

Ayres must refrain from using terms with specialized legal meaning in the context of

the Fair Housing Act. See, e.g., [340-1] at 13 (“I report statistical evidence that is

consistent with the hypothesis of the disparate racial impact and treatment on

minority neighborhoods.”). I recognize that the terms “disproportionate” or

“disparate” are commonly used to express statistical comparisons between groups

(i.e., to express a simple ratio), but the use of these terms in the context of disparate-

impact and disparate-treatment liability under the Fair Housing Act risks confusing



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the jury. Whether Ayres’s regression analyses were “consistent” with plaintiffs’ legal

theory is a matter for attorney argument, not witness testimony.

      C.     Deavay Tyler

      Tyler served as the Executive Vice President and Chief Financial Officer for

A&D Property Services for over nine years. [319-1] at 1. In that role, he oversaw the

preservation and maintenance of properties after foreclosure when they became real

estate owned properties. He seeks to testify on the preservation and maintenance of

REOs, including industry standards, policies, and procedures. [319-1] at 2.

      He offers eight opinions: (1) plaintiffs’ investigation criteria generally reflect

industry standards for routine property preservation and maintenance work that

mortgage servicing companies like Ocwen through vendors like Altisource should

conduct regularly regardless of property value; (2) contrary to Ocwen’s and

Altisource’s system of prioritizing property and maintenance services to high-value

properties, essential services should be completed on all REO properties regardless

of property value; (3) various deficiencies identified in plaintiffs’ investigation should

have been fixed or resolved regardless of the condition of the property when it became

an REO; (4) contrary to industry standards, defendants’ property preservation and

maintenance fails to include necessary stakeholders; (5) defendants’ oversight and

quality control practices were inadequate at every level; (6) Altisource’s offshore

model contributed to the poor services it provided; (7) defendants’ models, policies,

and practices demonstrate a lack of awareness of the Fair Housing Act and their

responsibility to provide services in a nondiscriminatory manner; and (8) properly



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maintained properties should not lose value while in a lender’s REO portfolio. [319-

1] at 2–4.

       Defendants move to exclude Tyler’s testimony in its entirety based on his: (1)

qualifications to opine on industry standards; (2) opinions related to defendants’

practices and policies; and (3) review of plaintiffs’ investigation photographs. 18 [319].

       Tyler opines that defendants’ “national” model of property preservation and

maintenance deviates from industry best practices, which he refers to as the “three-

legged stool” model. [319-1] at 8, 15–18. In Tyler’s view, property preservation and

maintenance services require collaboration across the owner, servicer, and vendors,

but he believes that defendants failed to collaborate at the local level. Defendants

contend that Tyler lacks the qualification to extrapolate his experiences in a local

market to opine on defendants’ nationally focused operations. [319] at 11–15. Tyler’s

experience in a local market does not render him unqualified to testify on national

industry standards. See, e.g., Lorillard Tobacco Co. v. Elston Self Serv. Wholesale

Groceries, Inc., No. 03 C 4753, 2008 WL 4681917 (N.D. Ill. May 13, 2008) (admitting

expert with regional experience in cigarette wholesaling to testify on practices in the

cigarette marketing industry generally). Tyler adequately demonstrates familiarity

with differences between the national and local vendor model. See [319-1] at 4. He

opines that the local model generally yields better results, but “both models–when


18 Both parties cite to the district court’s ruling on the admissibility of Tyler’s testimony in

NFHA v. Bank of Am., N.A., No. CV SAG-18-1919, 2023 WL 1816902, at **9–11 (D. Md. Feb.
8, 2023). The Maryland district court admitted in part and excluded in part Tyler’s proffered
testimony on the same topics proposed here. While Tyler seeks to testify on substantially
similar topics in this case, some of his opinions and the issues presented by the parties in
this case differ.

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operated with fidelity and with proper checks and quality control–have the potential

to meet minimum industry standards.” [319-1] at 5. Defendants raise several other

objections to Tyler’s qualifications, but their criticisms go to the weight rather than

admissibility of Tyler’s testimony. See Hall v. Flannery, 840 F.3d 922, 929 (7th Cir.

2016) (“The fact that an expert may not be a specialist in the field that concerns her

opinion typically goes to the weight to be placed on that opinion, not its

admissibility.”). Defendants argue that Tyler relied on just a single example of a

market participant, Freddie Mac, to assert that those practices constitute industry

standards. [319] at 12. But in his deposition, Tyler identified other sources, including

HUD guidelines and his professional experience working with banks and companies.

[319-2] at 89:9–89:23. He referenced Freddie Mac and Fannie Mae as “industry

leaders” that informed his opinions on industry standards, but he didn’t represent

their practices as the sole basis for his opinions. [319-2] at 90:4–91:11. Nor is Tyler’s

lack of knowledge on residential mortgage-backed securities trusts a reason to

exclude his opinions on general industry standards, which Tyler opines apply

regardless of specific ownership. See [319-2] at 49:19–50:8 (“[T]here is an owner,

there’s a preservation company, and there’s a sales arm.”). To the extent that Tyler’s

articulation of industry standards fails to account for differences in responsibilities

based on a bank’s direct ownership or trusteeship of a property, his lack of familiarity




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goes to the credibility of his testimony as an expert on property maintenance rather

than his qualifications to provide that testimony. 19

       Defendants also raise objections about the reliability of Tyler’s view on

industry standards. For example, they point out that the term “low value” to describe

properties appears in webinar materials presented by HUD. See, e.g., [393] at 10 n.6.

Defendants are free to disagree about what constitutes actual industry practice and

whether Tyler appropriately identifies those standards, but these disputes similarly

go to weight of his testimony rather than its admissibility. See Lees v. Carthage Coll.,

714 F.3d 516, 525 (7th Cir. 2013) (defendant’s arguments that certain guidelines used

by plaintiff’s security expert “should not be taken as persuasive on the standard of

care” go to weight of testimony).

       Second, defendants contend that Tyler offers conclusory opinions about the

effects of property values on defendants’ policies and conduct. [319] at 7–11. Based in

part on his review of Ocwen’s and Altisource’s various policy and procedure manuals,

Tyler opines that Ocwen and Altisource differentiate between low- and high-value

properties; those deemed “high value… receive different and better care than

properties deemed low value.” [319-1] at 10–11. Under Tyler’s view, a “value-based

model” like the one used by Ocwen and Altisource does not accord with industry

standards to treat properties equally regardless of perceived value. [319-1] at 11. He



19 Defendants also argue that Tyler conflated his view of “best practices” with “industry
standards.” [319] at 13. In his deposition, Tyler clarified that “a best practice can be a goal
for industry standard because best practice and minimal industry standards are two different
things.” [319-2] at 280:3–280:13. Tyler adequately explains the difference between
aspirational standards and minimum standards.

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further concludes that Ocwen’s and Altisource’s value-based model “sends both

explicit and implicit messages to local vendors that less care is needed for properties

in communities with lower perceived values” and this messaging “would create a clear

second-class citizenry among Deutsche Bank REO assets managed by Ocwen and

Altisource and depress the completion of work on properties in communities with low

perceived values, even when preservation and maintenance work may be desperately

needed.” [319-1] at 11. Defendants object that Tyler does not offer any analysis to

connect defendants’ procedures to property values because he did not, for example,

assess what services were actually performed for properties. [319] at 8.

       Tyler’s assessment of Altisource’s and Ocwen’s policies and procedures as a

“value-based” model that departs from industry standards reasonably flows from his

comparison of the two. But Tyler’s conclusion about the effects of the value-based

model on vendors is not supported by any evidence he reviewed in Altisource’s and

Ocwen’s manuals or based on his own experience. Plaintiffs point out that Tyler is

not proposing to testify on how defendants maintained or marketed specific

properties, but purports only to explain how defendants’ policies “would be received

by property preservation and maintenance vendors.” [357] at 15. But the potential

for policies to encourage certain behaviors and the practical effect of those policies on

vendors’ behavior are distinct questions. The latter requires some analysis of actual

conduct (or at the very least, some reasonable basis for an inference). 20 Tyler does,


20 Moreover, questions about the perception and impact of messaging in the context of housing

discrimination are often complex and subject to a separate cottage industry of social science
research. Cf. Tyus v. Urb. Search Mgmt., 102 F.3d 256, 263 (7th Cir. 1996) (discussing the


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for example, explain how Ocwen’s and Altisource’s system for work orders

“incentivized [vendors] to complete frivolous, ‘low-hanging fruit’ work… because they

do not need to seek prior authorization to perform this work.” [319-1] at 13. He opines

that these complicated processes “could have the effect of encouraging vendors to hit

the maximum limit on routine or standard items” rather than “identifying and

performing necessary preservation and maintenance work on the property.” [319-1]

at 13. Tyler may opine based on his professional experience how Ocwen’s and

Altisource’s policies create an incentive structure for vendors to forgo maintenance

work on certain properties. But that’s different from conclusively stating that

Ocwen’s and Altisource’s policies “create a clear second-class citizenry among

Deutsche Bank REO assets managed by Ocwen and Altisource and depress the

completion of work on properties in communities with low perceived values.” [319-1]

at 11. That’s an unsupported causal conclusion.

      Defendants raise similar objections to Tyler’s opinions on (1) defendants’

quality control practices and (2) Altisource’s “offshore” model. [319] at 9–11.

Generally, Tyler opines that defendants’ oversight and quality control mechanisms

were insufficient at every level. See [319-1] at 18–25. Defendants argue that Tyler

doesn’t explain how quality oversight practices resulted in quality control lapses.

[393] at 12. For the most part, Tyler’s testimony on this topic is confined to his views

about whether quality control procedures were sufficient in light of industry




relevance of an expert psychologist’s testimony on “the way an advertising campaign sends a
message to its target market and how an all-White campaign affects African-Americans”).

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standards. For example, Tyler explains that it is standard for code violations to be

remedied promptly and without fail, but Altisource adopted a coding system after

2015 where code violations were marked as “closed” when they were not, including

when a property’s asset manager decided to leave the property “as is.” [319-1] at 20.

This is admissible testimony informed by Tyler’s review of the manuals. In another

part, Tyler compares the number of Deutsche Bank-owned properties with work

orders to properties that received quality control inspections from Regional Field

Service Managers. [319-1] at 22. Altisource’s work order information for 630

properties were distributed as follows: 43.88% in majority Black neighborhoods,

37.68%   in   majority   white   neighborhoods,    10.17%    in   majority   non-white

neighborhoods, and 8.27% in Latino neighborhoods. Only 51 of those properties with

work orders received inspections, which Tyler opines is an insufficient level of quality

control. Tyler further analyzes the racial makeup of neighborhoods of the inspected

properties:

      Of the 51 unique properties that received a RFSM quality control inspection,
      47% (24) were in majority white neighborhoods, 25% (13) were in majority
      Black neighborhoods, 16% (8) were in majority non-white neighborhoods, and
      12% (6) were in majority Latino neighborhoods… When compared to the
      overall breakdown of NFHA-tested properties discussed above, it is apparent
      that completed RFSMS quality control inspections, disproportionately occur in
      majority white neighborhoods. This is concerning to me.

[319-1] at 23 (emphasis in original). Defendants mischaracterize Tyler’s testimony as

opining that “Altisource and Ocwen’s oversight resulted in disparate effects.” [319] at

9. Tyler’s comparison points out a discrepancy in properties needing maintenance and

properties that actually received a quality control inspection. That comparison is fine,



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so long as he does not characterize this difference as a statistical disparity explained

by defendants’ conduct.

       As to Altisource’s business model, Tyler opines that Altisource’s system of

remote-managing properties from outside the country contributed to poor property

preservation services. [319-1] at 25–28. He notes that Altisource’s model is specific to

its work with Deutsche Bank properties serviced by Ocwen—other clients did not

permit offshore management of REO properties. [319-1] at 25. Here too, Tyler may

offer his views about the industry standard and how Altisource’s model departs from

those norms. 21 But Tyler may not testify on the effects of Altisource’s model on the

delivery of services absent a sufficient basis for making the link. For example, Tyler

concludes that Altisource’s “all-remote PPI services through unwieldy and

cumbersome      procedure    manuals introduces unnecessary           complications and

necessarily leads to the ineffective delivery of PPI services.” [319-1] at 26. Altisource’s

value-based policies and remote management “leads to the plainly inadequate

preservation and management services observed by Plaintiffs in their investigation.”

[319-1] at 26. A chain in the causal link is missing. Tyler does not point to any

examples of how the all-remote system impeded services for a property, either specific

to the Altisource-managed properties or more generally from his experience observing

the outcomes of remote-service operations. Tyler cannot reliably conclude that




21 Defendants point out that Freddie Mac and Fannie Mae contemplate the use of offshore

work within the industry. [319] at 10 n.3. Defendants are free to challenge Tyler’s
characterization of Altisource’s model as a deviation from industry standards, but that goes
to the weight rather than admissibility of Tyler’s testimony.

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Altisource’s business model is responsible for the “plainly inadequate” services

observed by plaintiffs.

      There are other parts of Tyler’s testimony that overreach to conclusions about

the effects of defendants’ maintenance and preservation policies on property values.

For example, Tyler opines that properly managed properties should not lose value

while in a lender’s REO portfolio:

      I am aware from reviewing the report of Elizabeth Korver-Glenn that there
      was a sharp reduction in value of Deutsche Bank REO properties serviced by
      Ocwen, especially as to properties in communities of color and Black
      neighborhoods. It is my opinion that the issues discussed [in the report]
      significantly contributed to this loss of value.

[319-1] at 29. Tyler is not barred from testifying that servicer and vendor activities

prevent loss of value or how adhering to proper maintenance activities would have

ameliorated the type of deficiencies observed in the REO properties. That’s an

admissible opinion about what parties in defendants’ shoes should have done but did

not do. But Tyler is barred from then concluding that such loss of value was

attributable to defendants’ practices. That’s an assessment of causation that is

unsupported. Tyler did not perform any analysis connecting the deviations from

industry standards to the property value declines in Korver-Glenn’s report. This

portion of Tyler’s testimony is excluded.

      Finally, defendants challenge Tyler’s review of plaintiffs’ investigation

photographs as (1) not based on his expertise and (2) unreliable. [319] at 15–18. In

his rebuttal, Tyler reviewed photographs with 4,167 deficiencies across 793

properties and opines that plaintiffs “consistently scored deficiencies in the criteria

that they assessed” and “in accordance with PPI industry standards.” [319-3] at 24.
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He reviewed deficiencies by checklist item for a blinded property. He reviewed

photographs shown with a listed deficiencies “until [he] found one photograph that

substantiated the scoring of the deficiency for that property.” [319-3] at 25. He would

then circle photographic evidence of the deficiency and “indicate directly on the PDF

document based on my experience and opinion that a ‘reasonable person would mark’

the deficiency.” [319-3] at 25.

      Defendants emphasize that Tyler does not cite to any other similar study,

experience conducting a similar photo review, or accepted methodology in the field.

That’s a rigid view of the reliability factors. Expert testimony based on professional

experience need not be subject to “scientific methodologies” or “peer review.” United

States v. Parkhurst, 865 F.3d 509, 516 (7th Cir. 2017). Of course, such an expert must

adequately explain the basis of his conclusions that demonstrate a reliable

application of his experience. Defendants point out that Tyler testified he was not

applying his expertise in reviewing the photographs:

      Q. When you say validate, what do you mean by that term?

      A. So I think it would be that not from my view as an expert but if a reasonable
      person would review that picture, a set of photos, and see that the deficiency
      existed.

[319-4] at 16:1–16:6. Conclusions based on Tyler’s nonspecialized review would be

unhelpful to a jury. A jury can identify deficiencies that a “reasonable person” would

mark without Tyler’s help. But see NutraSweet Co. v. X-L Eng’g Co., 227 F.3d 776,

788 (7th Cir. 2000) (affirming admission of expert testimony interpreting aerial

photos of waste disposal site based on generally accepted use of photo analysis in the

field and expert’s specialized knowledge). Plaintiffs contend that defendants isolate
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the deposition testimony as a “gotcha” moment, but Tyler testified to viewing the

photographs “based on [his] expertise, a reasonable person would have seen the same

things.” [319-4] at 118:2–118:3. This explanation of his review is confusing and

unhelpful to a jury, so it is excluded. There are other problems with Tyler’s photo

review, but only one is worth mentioning. Tyler explains that he was provided a

checklist for a property with a category of deficiencies. He would then identify

evidence in photographs to match deficiencies. In other words, Tyler merely confirms

what he knows plaintiffs had already identified and works backward. That result-

driven process is unsound. See Flagstar Bank, FSB v. Freestar Bank, N.A., 687

F.Supp.2d 811, 820 (C.D. Ill. 2009) (“Preparation by an expert which involves

beginning with a goal (finding a similarity between the marks) and working

backwards to meet the goal (evaluating only the given words, looking for a link) is the

antithesis of reliable and scientific.”). Tyler’s photo review is excluded.

      In sum, Tyler’s testimony is confined to opinions on industry standards for

property preservation and maintenance and how defendants’ policies and procedures

departed from those standards. See Jimenez, 732 F.3d at 721–22. He may not offer

conclusions as to (1) the effect of property values on defendants’ maintenance

decisions or (2) the negative effect of defendants’ maintenance conduct on property

values. His photo review of properties based on nonspecialized expertise is excluded.

      D.     Dr. Timothy Guetterman

      Guetterman is the Associate Director of the Mixed Methods Program at the

University of Michigan. [341-1] at 2. Mixed-methods research is an approach to social

science research that integrates quantitative and qualitative methods. [341-1] at 6.
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Guetterman assessed the methodology used in plaintiffs’ investigation and opines

that: (1) the investigation was well-designed and conducted consistent with standards

for a rigorous mixed-methods research study; (2) data collection was reliable,

including standardized forms, detailed instructions, and quality control reviews

comparing data to photographs of property; (3) defendants’ concerns about missing

original paper-based data forms was unfounded and plaintiffs’ used “clean data”; (4)

the aggregated sample size across different cities was reasonable; and (5) plaintiffs’

cross-sectional design (a single time point per REO property) was sound. [341-1] at

4–5.

       Defendants move to exclude Guetterman’s testimony in its entirety. [328] at 5.

Defendants challenge Gutterman’s (1) evaluation of plaintiffs’ study and research

methodology and (2) his review of the investigation photographs.

       Defendants object to the relevance of Guetterman’s general opinion that

plaintiffs’ study was “well-designed and conducted consistently with expectations for

a rigorous mixed methods research study for its intended aim.” [328] at 15–16.

Defendants tie the relevance of Guetterman’s testimony to Ayres’s statistical

analysis. Because Ayres’s analysis is “purely quantitative” rather than mixed

methods, defendants argue that there is no mixed-methods study for Guetterman to

evaluate. [328] at 16.

       Guetterman’s evaluation of plaintiffs’ investigation methods is probative of

whether the type of data plaintiffs collected is appropriate to use in this type of study.

Defendants’ relevance objection depends on their characterization of plaintiffs’ study



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as a purely quantitative one. It is a disagreement with Guetterman’s characterization

of plaintiffs’ investigation as a mixed-methods study. Defendants are entitled to

disagree with Guetterman’s characterization, but that criticism goes to the weight of

his testimony. Guetterman noted that plaintiffs collected data through photographs

(“a well-accepted type of qualitative data”) in addition to structured forms scoring

deficiencies based on a yes/no rating that were later tabulated and aggregated. [341-

1] at 6, 8–9 (“Quantitative investigators in social sciences use methods…. such as

collecting data using structured, closed-ended forms with a defined set of possible

responses, such as checking yes/no.”). He also opines that a regression analysis would

be “an appropriate statistical test for data collected through observations and

photographs in field-based research.” [341-1] at 10. Defendants object that plaintiffs

never intended to design a mixed-methods study from the outset, but nothing in

Guetterman’s testimony suggests this is a requirement in the field of mixed-methods

research. Guetterman opines on whether plaintiffs’ data collection, standardization,

and quality-control strategies conformed with standards in mixed-methods research.

He seeks to testify on one link in plaintiffs’ investigation. See Adams v. Ameritech

Servs., Inc., 231 F.3d 414, 425 (7th Cir. 2000) (“No one piece of evidence has to prove

every element of the plaintiffs’ case; it need only make the existence of ‘any fact that

is of consequence’ more or less probable.”).

      Defendants also object to Guetterman’s opinion that plaintiffs “used multiple

sampling strategies for rigor.” [328] at 17. Guetterman cited peer-reviewed literature

on common sampling methods as well as NFHA testimony describing plaintiffs’



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sampling procedures. [341-1] at 8. According to Guetterman, “[s]electing

metropolitan areas based on foreclosures in addition to racial segregation or

concentration” as plaintiffs did is consistent with the commonly used “purposeful

sampling” method to identify sites that are “information rich.” [341-1] at 8.

Defendants identify Guetterman’s admissions in his deposition that: (1) his own

practice was to record his sampling approach at the outset of the study, but he did

not ask whether plaintiffs did so; (2) it would be a problem if local organizations

influenced the sampling of selection criteria, but he did not review any information

about local organizations’ involvement in sampling; (3) he believed plaintiffs selected

majority-white and minority neighborhoods with comparable income levels, but he

did not review any data to support the belief; and (4) he would have recorded income

cutoffs for his sample. [341-1].

      Guetterman’s admission that plaintiffs’ sampling methods did not conform to

his personal methods does not make his conclusions unreliable. Unless otherwise

conflated, whether plaintiffs followed widely accepted sampling methods or

Guetterman’s sampling methods are different questions. Defendants also reasonably

point out weaknesses in plaintiffs’ sampling methods that Guetterman apparently

gave little thought to. Defendants may raise these points to challenge Guetterman’s

ultimate conclusion that plaintiffs’ sampling methods were “robust,” and Guetterman

cannot vouch for the credibility of another witness. But he adequately explains how

plaintiffs’ methods align with widely accepted standards based on his review of

materials and his expertise.



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      Defendants also object to Guetterman’s opinions related to his review of

plaintiffs’ photographs based on his lack of relevant experience, application of

methodology not generally accepted in the field, and reliability. [328] at 6–15. To

address defendants’ expert McCrary’s criticism of plaintiffs’ data, Guetterman

reviewed photographs of 30 randomly sampled properties to test the accuracy of

plaintiffs’ scoring. [341-3] at 3–4. He compared each deficiency to photographic

evidence and found evidence for 189 or 190 deficiencies noted. [341-3] at 3. Plaintiffs

say the purpose of the photo review is not to opine that plaintiffs accurately identified

maintenance deficiencies but to help a jury understand plaintiffs’ methodology and

quality control. [365] at 9–10. Even if Guetterman is qualified to opine on quality-

control procedures, the photo review required him to assess deficiencies based on

property photographs and plaintiffs’ checklist. And Guetterman concedes that he has

no background or training in REO maintenance or housing. [328] at 8. Guetterman’s

photo review exceeds the scope of his expertise and is excluded.

      Because he is barred from conducting a photo review, Guetterman’s testimony

is limited to his evaluation of plaintiffs’ investigation methodologies, without

commenting on the credibility or reliability of evidence.

      E.     Pamela Kisch

      Kisch is the Executive Director of the Fair Housing Center of Southeast & Mid

Michigan and a fair housing tester. [336-1] at 5. Kisch’s opinion relates to: (1) the use

of testers and the role of fair housing organizations in uncovering illegal

discrimination and (2) the design and execution of fair housing tests. [336-1] at 6. She

offers four general opinions: (1) “[t]esting for enforcement purposes comports with the
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meaning and intent of the FHA”; (2) “[p]laintiffs’ investigation is consistent with

traditional enforcement testing and furthers the goals of the FHA”; (3) “[p]laintiffs’

investigation methodology is not flawed”; and (4) “[r]equiring FHA testing to comport

with the requirements suggested by Defendants would frustrate the purpose of the

FHA and harm fair housing efforts.” [336-1] at 6–8.

      Defendants seek to exclude Kisch’s testimony in part: opinions related to the

Fair Housing Act that constitute impermissible legal conclusions and opinions related

to loan servicing standards. [304] at 2.

      Three of Kisch’s overarching opinions invoke the meaning, purpose, and goals

of the Act, but not all of the conclusions supporting her general opinions constitute

inadmissible legal opinions. Kisch is not barred from opining on the use of fair

housing testing to investigate complaints of discrimination (subject to a relevance or

Rule 403 objection based on a waste of time) or whether plaintiffs’ investigation

methodology comports with established testing standards (which defendants do not

seek to exclude, see [304] at 3 n.1).

      Parts of Kisch’s testimony veer into the territory of legal conclusions. For

example, she opines that “[i]n a common testing scenario to prove race discrimination

under the Fair Housing Act, one merely has to show that a housing provider violated

one or more elements of the FHA based on race.” [336-1] at 6. This is an articulation

of the legal standard under the Act, and Kisch is barred from testifying on it. In other

parts, Kisch opines on defendants’ conduct and liability under the Act:

      It would be of little relevance if a property owner or agent denied housing to
      ten Black tenants in June and denied housing to only five Black tenants in

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       July when compared to similarly-situated white tenants. These are both
       violations of the Federal Fair Housing Act. From day one, or day 30 in this
       case, the owner is responsible for training staff and laying out the expectation
       of zero tolerance of unequal treatment. Deutsche Bank was responsible to hire,
       train and supervise the work done by their service providers.

[336-1] at 24. Kisch’s opinion that Deutsche Bank may not delegate its duties under

the Act to agents is a legal conclusion as to liability under the Act. Kisch also opines

that, “it makes no difference whether the owner of the property being investigated

knew or did not know that its agent was discriminatory.” See [336-2] at 8 (rebuttal to

Kaplan report). That statement also crosses the line into legal opinion about the

relevance and significance of property ownership in determining liability for housing

discrimination. Similarly, Kisch may not opine that HUD’s “no cause” determination

in NFHA’s administrative complaint against U.S. Bank is “of little relevance.” [349-

1] at 16. Statements of this ilk constitute inadmissible legal opinions. 22

       Kisch is also barred from testifying that fair housing testing can be used to

develop evidence of discrimination. “Discrimination” in the fair housing context has

legal implications. See Perkins, 470 F.3d at 158. For example, Kisch opines that

“photographs taken and stored during this investigation are the audit trail and can

stand on their own as evidence.” [336-2] at 6. Kisch may not be opining that plaintiffs’

investigation data stands on their own as evidence of discrimination in this case, but

her opinion raises the possibility of juror confusion. What constitutes sufficient




22 Defendants identify 18 statements that should be excluded as impermissible legal opinions.

[304] at 3–5. I agree. Those statements are inadmissible.

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evidence of discrimination is a question for the jury and the admissibility of evidence

is a question for the court.

      Defendants also move to exclude Kisch from testifying on loan servicing

standards as beyond the scope of her expertise. [304] at 6–7. Kisch opines that

“Deutsche Bank had 30 days to bring the properties up to a basic standard – they are

ultimately responsible for the outcome.” [336-1] at 22–23. Defendants object that

Kisch is no expert on maintenance and marketing of properties in REO status, so she

is not qualified to answer questions about maintenance standards in the industry.

[304] at 6. Plaintiffs counter that Kisch is not opining on any REO maintenance

standards but instead addressing defendants’ criticism that NFHA’s 30-day “grace

period” was a flaw in the investigation design. [349] at 6. To the extent that Kisch

frames the 30-day window as a standard deadline for maintenance compliance, Kisch

conceded that she had no background in property maintenance standards and such a

conclusion would fall outside the scope of her expertise. But in other parts, Kisch

discusses the 30-day period in the context of reasonable investigation protocols:

      Plaintiffs’ single-point-in-time investigation and providing the REO owner a
      30-day grace period after foreclosure were reasonable investigation protocols.
      After 30 days, the racial makeup of the neighborhood should not have an
      impact on the basic level of maintenance and marketing of REO properties
      owned by Deutsche Bank. After 30 days, the number of all deficiencies should
      be close to zero and consistent across neighborhoods, regardless of race.

[336-2] at 5 (rebuttal to Stedman report). It is within Kisch’s expertise to opine on

what constitutes a reasonable investigation protocol in the context of fair housing

testing design. The problem is that she never explains why the 30-day period is a

reasonable design protocol. To support her conclusion that the point-in-time

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investigation design was reasonable, Kisch points to best practices of fair housing

testing (e.g., avoiding detection) and her experience with testing based on one-time

visits. See [336-1] at 19–20. She does not offer similar support for her conclusion on

the 30-day window. 23 Kisch’s opinions regarding the 30-day window, whether framed

as a standard for maintenance compliance or a reasonable investigation protocol, are

not reliable. See Joiner, 522 U.S. at 146.

       Kisch’s testimony is excluded in part. She may not offer legal opinions related

to the Act, and she may not opine on the 30-day grace period. That leaves Kisch’s

testimony on fair housing testing design and plaintiffs’ investigation methodology as

admissible topics, subject to a relevance or Rule 403 objection based on a waste of

time at trial.

       F.        Albert Poche

       Poche is the Program Director for the Bloomberg Harvard City Leadership

Initiative. [337-1] at 2. He previously worked as the Director of Code Enforcement for

the City of New Orleans where he oversaw thirteen full-time inspectors responsible

for collecting and documenting photographic evidence of distressed properties for use

in judicial hearings. Poche seeks to testify on the impact of property neglect and

distress in neighborhoods; the impact of improper maintenance of REO properties;

and the adequacy of the tools used by plaintiffs in assessing maintenance of



23 Defendants argue that Kisch is merely endorsing a 30-day window “invented by NFHA.”

[304] at 6–7. The fact that plaintiffs “invented” the window would not necessarily be grounds
for exclusion if Kisch explained, for example, that a grace period necessarily imposes
arbitrary cut-offs, and such timing constraints are common to testing design. The problem
doesn’t lie with Kisch’s ultimate conclusion but how she supports it.

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defendants’ REO properties (i.e., the deficiency checklist used in the investigation).

[337-1] at 5. In addition to reviewing plaintiffs’ photographs, Poche reviewed

defendants’ photographs of REO properties and offers conclusions on disparities in

maintenance based on neighborhood race. [337-1] at 13.

      Defendants move to exclude Poche’s testimony in part: parts of Poche’s reports

that constitute legal opinions and Poche’s testimony related to his review of plaintiffs’

photographic evidence. [306] at 2.

      Defendants challenge parts of Poche’s testimony that opine on the level of

maintenance required under local municipal laws. [306] at 3–4. For example, Poche

concludes in one part: “[I]f the Defendants would have addressed these deficiencies

either when they occurred or upon acquisition of the properties, as they are required

to by local law, there is strong evidence to suggest that neighboring communities

would have experienced less violent crime.” [337-1] at 16. Poche also uses the terms

“willful negligence” or “negligence” to describe defendants’ neglect of properties. See,

e.g., [337-2] at 12. Plaintiffs respond that they are not seeking to hold defendants

reliable for code violations, so Poche’s statements to this effect are not impermissible

legal conclusions. [358] at 11.

      Many of Poche’s statements are legal conclusions, but they do not “define the

legal parameters within which the jury must exercise its fact-funding function” in

this case. Specht v. Jensen, 853 F.2d 805, 809–10 (10th Cir. 1988). The Fair Housing

Act—not local ordinances—provides the applicable legal standards. Poche’s

testimony does not impermissibly articulate legal standards or offer conclusions as to



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liability under the Act, but for this reason, the statements also have limited relevance

as to unlawful discrimination under federal law. Cf. Montes v. Town of Silver City,

2005 WL 8163860, at *2 (D.N.M. July 12, 2005) (excluding expert testimony on hiring

policies under state and local law in a § 1983 suit because the legal standards for

unlawful hiring would be defined by the First and Fourteenth Amendments). In

weighing the relevance and possibility of confusion under Fed. R. Evid. 403, those

parts of Poche’s testimony that describe defendants’ conduct in terms of “negligence”

are excluded. Poche is not barred from opining that properties in defendants’ care

suffered from maintenance deficiencies that should have been remedied under local

code, but he must exercise caution to avoid terms with legal baggage that do not

define the standard under the Act. At trial, a limiting instruction may also be

necessary to prevent proof of code violations from being used as proof of

discrimination. See 7th Cir. Civ. Jury Instr. 2017 ed. § 7.04 (Limiting Instruction

Concerning Evidence of Statutes, Administrative Rules, Regulations, and Policies);

7th Cir. Crim. Jury Instr. 2023 ed. § 3.11 (Evidence of Other Acts by Defendant).

      Defendants seek to exclude Poche’s review of defendants’ photographs based

on Poche’s qualifications and his use of unreliable methodology. [306] at 4–12. Poche

reviewed photographs for 100 Deutsche Bank REO properties with quality control

work orders: half the properties were in white neighborhoods and the other half were

located in Black and Brown neighborhoods. [337-1] at 14. Plaintiffs provided race-

blinded photographs to Poche, i.e., he did not know the racial makeup of the

neighborhoods when reviewing photographs. Poche used plaintiffs’ deficiency



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checklist against defendants’ property photos to identify an average of 2.96

deficiencies for properties in white neighborhoods and 4.78 deficiencies in

communities of color. [337-1] at 15. Poche also conducted a t-test and found the results

to be statistically significant with a p-value of 0.0016. [337-1] at 15.

      Poche has professional experience in identifying maintenance deficiencies

through property inspections, including through photographic documentation, so he

is qualified to offer conclusions about the deficiencies he observed in photographs.

But that experience doesn’t extend to conducting statistical tests of the observed

deficiencies. Plaintiffs point out that an expert need not be a statistician to perform

a statistical test. To be sure, courts generally reject imposing inflexible requirements

that an expert have a particular credential to offer technical testimony. See Tuf

Racing Prod., Inc. v. Am. Suzuki Motor Corp., 223 F.3d 585, 591 (7th Cir. 2000)

(rejecting notion that Daubert requires an expert to have certain credentials as

“radically unsound”). But Poche doesn’t mention any knowledge gained through

training or experience while working in code enforcement relevant to statistical

analysis. More importantly, his methodology is unsound. A t-test is a commonly used

statistical test, but Poche never explains what a t-test is or why it’s appropriate for

the sampled data. See David H. Kaye & David A. Freeman, Reference Guide on

Statistics in Reference Manual on Scientific Evidence 30 (Fed. Jud. Ctr. 3d ed. 2011)

(“A t-test is not appropriate for small samples drawn from a population that is not

normal.”). He explains only that the results are “statistically significant (P=0.0016, t-

test), indicating that the difference is not statistical noise and that we can conclude



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with a high degree of certainty that homes within communities of Color were not

being maintained to the same standard.” [337-1] at 15. Poche’s statistical analysis is

unreliable and excluded. Poche is limited to opining on deficiencies he observes in the

photographs of properties.

      Defendants seek to exclude Poche’s opinion that defendants’ inspection

photographs of properties were of inferior quality to plaintiffs’ photographs. [390] at

11–12. Poche criticizes defendants’ photographs as “grainy, unclear, and wholly

inadequate to demonstrate evidence of neglect.” [337-1] at 16. A jury presented with

defendants’ and plaintiffs’ photographs would be able to make those determinations

without the assistance of an expert. See Burns v. Sherwin-Williams Co., 78 F.4th 364,

374 (7th Cir. 2023) (affirming exclusion of expert witness’s opinion on the risk posed

by oversized pallets because photographs from the accident site “speak for

themselves”); Harris v. Hixon, 102 F.4th 1120, 1132 (11th Cir. 2024). (“Jurors don’t

need expert testimony to help them understand how [the investigators] compared

photographs or to compare photos for themselves.”). This portion of Poche’s testimony

would not be helpful to the jury and is excluded. Similarly, portions of Poche’s

rebuttal report that merely restate third-party witness accounts about the poor

condition of Deutsche Bank-owned properties are excluded. [337-2] at 12. Those third-

party statements speak for themselves, and Poche does not add any value as an

expert by contextualizing them.

      Poche’s testimony is limited to evaluation of plaintiffs’ deficiency criteria and

industry standards for code compliance, but any opinions crossing the line into legal



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conclusions are barred. He may evaluate property photographs based on his

professional experience in code compliance, but he may not offer any conclusions

based on his statistical analysis. He is also barred from simply restating third-party

witness testimony.

      G.     Dr. Elizabeth Korver-Glenn

      Korver-Glenn is professor of sociology at Washington University in St. Louis.

[347-1] at 6. Her research focuses on racial and economic inequality. She wrote a book

on housing markets and segregation in the 21st century, and she regularly speaks on

topics related to racial inequality in real estate markets at industry panels, seminars,

and trainings. She also has experience providing feedback and input to regulatory

entities, including the Federal Housing Finance Agency and the Appraisal

Foundation. Korver-Glenn seeks to opine on issues of implicit and explicit racial bias,

racialized discretion, value-based policies and procedures, and Ocwen’s and

Altisource’s lack of quality oversight and quality control. [347-1] at 2.

      Korver-Glenn’s report covers eight topics, including a historical background to

contextualize defendants’ valuation and value-based policies. [347-1] at 6–7.

Defendants do not seek to exclude her opinions on historical background, but they

move to exclude Korver-Glenn’s opinions related to: (1) Ocwen’s and Altisource’s

“Statements of Work” (contracts); (2) Altisource’s value-based policies and

procedures; (3) Ocwen’s quality control efforts; (4) Altisource’s marketing and sales

activity; (5) the readability of certain Altisource policies; and (6) the quantitative

effect of defendants’ policies and procedures. [329] at 5.



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       Defendants challenge Korver-Glenn’s qualifications to opine on Statements of

Work between Ocwen and Altisource because she lacks professional experience in the

real-estate industry. [329] at 6. Based on her review of Statements of Work between

Ocwen and Altisource, Korver-Glenn identifies problems and omissions in the

contractual provisions related to property valuation, preservation, training and

equity that, in her view, were “unduly vague and deficient.” 24 [347-1] at 27. Korver-

Glenn may rely on her academic and research experience to explain historical or

contemporary real-estate appraisal practices in the context of housing inequality. But

she treads outside the scope of her expertise when she opines that Altisource’s or

Ocwen’s policies and procedures were “deficient.” See, e.g., [347-1] at 27. That type of

conclusion typically requires some benchmark for comparison. Korver-Glenn

concedes that she has never reviewed a Statement of Work before reviewing

Altisource’s and Ocwen’s materials. 25 See [346-1] at 25 (92:3–92:7). She explained



24 Korver-Glenn identified the following problems and omissions: “incorporating property
value-based policies; failing to include non-discrimination requirements in policies or
references to the Fair Housing Act; failing to ensure fair housing training of Altisource’s
vendors, or fair housing training of Ocwen and Altisource employees that addressed REO
maintenance, preservation and valuations; failing to adequately delineate the nature of the
work Altisource was to do, resulting in Altisource taking actions that Ocwen denied
approving; and failing to ensure Altisource used the same valuation procedures for all REO
homes.” [347-1] at 27.
25 Korver-Glenn described the following approach, [346-1] at 25 (92:8–23):


       Q. [I]f we were going to decide whether a statement of work is adequate or inadequate,
       where do we find that criteria?
       A. I have been trained to read, engage, understand, and evaluate large bodies of data.
       In this case, written data. And specifically in the context of this case, their relationship
       to fair housing… Although reading is a shorthand way of saying it… I analyzed these
       statements of work for what they included and as someone who studies housing and
       is an expert in fair housing and race, what they did or did not include that were --
       could be -- would be important in discussions with fair housing.

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that she was not relying on any specific industry criteria to evaluate the Statements

of Work but rather her “knowledge of how racial bias and racial inequality happen.”

[346-1] at 26 (94:5–94:6). Plaintiffs respond that Korver-Glenn relies on the accepted

methodology of “case-based logic sampling,” where a researcher draws from large

troves of data until themes or patterns emerge and reach a “saturation” point. [347]

at 6–7. Defendants say this is just another way of characterizing an expert’s

“intuition” and that courts have rejected similar “totality of the information”

approaches. [396] at 11–12 (citing J&V Development, Inc. v. Athens-Clarke Cnty., 387

F.Supp.2d 1214, 1218–19 (M.D. Ga. 2005)). Whether or not case-based logic sampling

is generally accepted in the social science field, the problem here is that Korver-

Glenn’s expertise and methodology is not applied to the specific facts of this case and

the testimony she seeks to offer. An appeal to general knowledge without explanation

renders many parts of her testimony unreliable and unhelpful. For example, Korver-

Glenn opines that the Statements of Work did not contain any instructions related to

nondiscrimination or fair housing training for Ocwen or Altisource employees. [347-

1] at 28. She also notes that Statements of Work were “largely silent on the process

of selecting which valuation products were to be used,” which along with the “lack of

guidance resulting from a failure to provide a valuations ‘Business Requirements

Document’… meant that the SOWs did not provide adequate guidance on Altisource

valuation product decision-making.” [347-2] at 29. She does not explain why these

provisions should be contained in Statements of Work. Without specific support and

in light of her lack of experience reviewing similar contracts, her opinions evaluating



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Ocwen’s and Altisource’s policies are not reliable conclusions based on her specialized

expertise. Conclusions that a policy is “problematic” or “inadequate” will not assist

the finder of fact. Similar statements in other parts of her report where she expresses

deficiencies or inadequacies in defendants’ policies and procedures are inadmissible.

See, e.g., [347-1] at 59 (summarizing a lack of quality control by Ocwen of Altisource

and lack of oversight of third-party vendors), 62 (opining that important charts were

“extremely vague, confusing, or indecipherable”). 26

       Korver-Glenn draws on her academic research to criticize defendants’

practices. For example, she opines that Altisource’s mandatory use of its proprietary

auction site Hubzu (as opposed to listing REO properties on Multiple Listing

Services) “discourages open-market transactions of REO properties, limiting access

to a smaller subset of prospective buyers and dampening local home values/prices,

and consequently, hurting local markets where Hubzu auctions off properties.” [347-

1] at 71. She points to academic research, including her own, that suggest local MLS

platforms are “foundational for supporting an open housing market.” [347-1] at 72.

In contrast, research shows that “limited service listings” (for which real estate

agents and brokers do not perform the “full suite of services”) are associated with

“negative price effects.” [347-1] at 74. Here, Korver-Glenn adequately explains the

basis of her opinion within the scope of her expertise. That type of testimony is

admissible, though she may not cross the line and attribute causation to defendants’




26 Korver-Glenn includes an example of a confusing map with a legend that is “virtually

impossible to read.” [347-1] at 63. A jury doesn’t need an expert to point that out.

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conduct or use terms with specialized legal meaning. See, e.g., [347-1] at 74 (“Along

with research that shows institutional/corporate investors’ purchasing, rental, and

eviction practices disproportionately harm Black renters and the history and

contemporary realities of racial segregation, it is also therefore my opinion that these

listing practices disproportionately harmed Black communities.”) (emphasis added).

      The final two sections of Korver-Glenn’s initial report offer an analysis of

property valuations by neighborhood race, which informs her bottom-line conclusion

that defendants “contributed to inequities in consequential ways during Plaintiffs’

investigation period.” [347-1] at 94–124 (sections VII–VIII). She opines that “REO

properties in Black neighborhoods were disproportionately categorically downgraded

in terms of their condition, described in categorically distinct ways… and, as a result,

disproportionately devalued.” [347-1] at 116. Based on the pool of agreed-upon

properties, Korver-Glenn reviewed the REO properties’ appraisal values (original

appraisal, first pre-foreclosure value, last post-foreclosure value) and average sales

price by neighborhood race. [347-1] at 103. Generally, she found that the Ocwen and

Altisource properties in Black neighborhoods experienced greater declines in

property value than properties in white neighborhoods. [347-1] at 103–06. Based on

a random sample of 50 properties, she offers “descriptive findings” comparing

variables: average REO sales price, average price classification, average days on

market, average number of photos on MLS listing, number of properties with fewer

than 8 marketing photos, and the number of properties with no MLS comments or

description. [347-1] at 108. She opines, for example, that Ocwen’s and Altisource’s



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average REO property market value was more than $58,000 lower for properties in

Black neighborhoods. [347-1] at 109. She also offers case studies of specific REO

properties in Black vs. white neighborhoods to support her analyses. [347-1] at 113–

16.

      Defendants object that Korver-Glenn lacks the qualifications to conduct

statistical analyses and fails to apply generally accepted methodology to come to her

conclusions. [396] at 5. Plaintiffs justify Korver-Glenn’s approach as a form of

“descriptive statistics” rather than a statistical model. [347] at 13. Descriptive

statistics, like “the mean, median, and standard deviation,” is a way to summarize

data. Kaye & Freeman, Reference Guide in Statistics in Reference Manual on

Scientific Evidence 213 (Fed. Jud. Ctr. 3d ed. 2011); see also Stender v. Lucky Stores,

Inc., 803 F.Supp. 259, 295 (N.D. Cal. 1992) (“Descriptive statistics simply report or

summarize counts, percentages, or averages based upon a given data set.”).

Descriptive statistics serve as “building blocks” for most statistical analyses. Daniel

L. Rubinfeld, Reference Guide on Multiple Regression in Reference Manual on

Scientific Evidence 213 (Fed. Jud. Ctr. 3d ed. 2011). But descriptive statistics do not

have inferential value by itself, that is, it cannot be used to draw conclusions about a

broader population. Put another way, descriptive statistics can identify disparities

among groups, but it cannot explain why those disparities exist.

      Korver-Glenn’s “descriptive findings” may be characterized as a form of

descriptive statistics, but her methodology and the conclusions flowing from them are

unsound. See Ram v. New Mexico Dep’t of Env’t, No. CIV 05-1083 JB/WPL, 2006 WL



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4079623, at *13 (D.N.M. Dec. 15, 2006) (“[E]ven if descriptive statistical analysis does

not have to meet all the rigorous requirements that the courts have imposed on other

types of statistical analysis, descriptive statistics must still be reliable.”). Korver-

Glenn never addresses how her property sample comports with accepted

methodology. It’s unclear if the selection of 100 properties is an appropriate sample

size or adequately representative of the universe of properties. She does not cite to

any research conducted by herself or others employing a similar methodology. More

importantly, Korver-Glenn’s descriptive analysis is fundamentally unreliable

because there is a gap between the type of analysis performed and the bottom-line

conclusions offered. Her descriptive findings cannot support inferences outside of the

100-property sample, yet she concludes that, “Altisource treated Ocwen properties in

Black neighborhoods significantly worse than Ocwen properties in White

neighborhoods across a host of measures” and that lack of quality assurance and

discretion in the valuation process “create[s] racial inequality in property condition

and property value.” [347-1] at 122. This is a conclusion about causation—it opines

on the effect of defendants’ conduct on value disparities between properties in white

and non-white neighborhoods. In her rebuttal report, Korver-Glenn asserts that

qualitative analyses need not control for variables. [347-2] at 24. That’s true only to

the extent that opinions drawn from qualitative analyses are not presented in the

form of causal conclusions. Korver-Glenn plainly offers causation evidence but fails

to control for potentially explanatory variables before linking defendants’ conduct

with the value disparities. Her analysis and conclusions are unreliable. See Fed. R.



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Evid. 702 advisory committee’s note to 2000 amendment (reliability factors may

include “[w]hether the expert has adequately accounted for obvious alternative

explanations”); Sheehan v. Daily Racing Form, Inc., 104 F.3d 940, 942 (7th Cir. 1997)

(excluding expert statistician’s testimony for “equating a simple statistical

correlation to a causal relation” and failing to control for explanatory variables). Her

use of descriptive statistics and her opinions are unreliable, and this portion of her

testimony (and related parts that offer causal conclusions) are excluded. See generally

[347-1] at 94–124.

      Finally, defendants say Korver-Glenn’s testimony should generally be

excluded because of bias. [329] at 18–19. They argue that Korver-Glenn has written

extensively about how the “entire industry is biased against properties in

communities of color” and that this bias infects her methodology and testimony.

Questions of an expert’s bias go to their credibility rather than admissibility of their

testimony. See Cruz-Vazquez v. Mennonite Gen. Hosp., Inc., 613 F.3d 54, 59 (1st Cir.

2010) (“Assessing the potential bias of an expert witness, as distinguished from his

or her specialized training or knowledge or the validity of the scientific underpinning

for the expert’s opinion, is a task that is ‘properly left to the jury.’”). Defendants may

explore this issue through adversarial presentation, but it’s not a basis to exclude her

testimony.

      Korver-Glenn is barred from testifying on Ocwen’s and Altisource’s

“Statements of Work”; opining on the adequacy of Ocwen’s and Altisource’s manuals

and policies; characterizing certain policies or documents as “confusing” or



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“indecipherable”; and presenting a descriptive statistical analysis on the “effects” of

the servicer defendants’ marketing and sales policies on REO values. The scope of her

testimony is confined to topics drawing on her academic and research expertise, so

long as she does not cross the line into attributing causation to defendants’ practices.

In light of the remaining claim in this case that may proceed to trial, her testimony

will be subject to Federal Rules of Evidence 402 and 403.

VI.   Defendants’ Motions for Summary Judgment

      A.     Actionable Claims Under the Fair Housing Act

      Plaintiffs’ claims arise under three separate provisions of the Fair Housing Act,

each proscribing different kinds of conduct. The statute is “broad and inclusive” and

its provisions subject to “generous construction.” Trafficante v. Metro. Life Ins. Co.,

409 U.S. 205, 209–12 (1972). “Courts have recognized that [the Fair Housing Act] is

the functional equivalent of Title VII, and so the provisions of these two statutes are

given like construction and application.” Kyles v. J.K. Guardian Sec. Servs., Inc., 222

F.3d 289, 295 (7th Cir. 2000) (internal citations omitted).

      Defendants do not dispute that §§ 3604(b) and 3605 are applicable in this case,

though they dispute whether plaintiffs present sufficient evidence of discrimination

to support these claims. They argue that plaintiffs’ claim under § 3604(a) related to

housing availability fails both as a matter of law and fact. [316] at 26–27.

      Section 3604(a) of the Act makes it unlawful to “refuse to sell or rent… or

otherwise make unavailable or deny, a dwelling to any person because of [race].” 42

U.S.C. § 3604(a). This provision requires that a “dwelling be made truly unavailable,

or that defendants deprived plaintiffs of their privilege to inhabit their dwelling.”
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Bloch, 587 F.3d at 782. Housing can be “made unavailable” under § 3604(a) through

practices like “mortgage ‘redlining,’ insurance redlining, racial steering, exclusionary

zoning decisions, and other actions by individuals or governmental units which

directly affect the availability of housing to minorities.” Southend Neighborhood Imp.

Ass’n v. St. Clair Cnty., 743 F.2d 1207, 1209 (7th Cir. 1984). Section 3604(a) generally

prohibits pre-acquisition conduct (“discrimination at the point of sale or rental”), but

it also extends to post-acquisition conduct that renders housing unavailable,

“somewhat like a constructive eviction.” 27 See Bloch, 587 F.3d at 776. To succeed on

a § 3604(a) claim, plaintiffs must “show more than a mere diminution in property

values” and “more than just that their properties would be less desirable to a certain

group.” Id. at 777 (citations omitted). That’s because “[a]vailability, not simply

habitability, is the right that § 3604(a) protects.” Id.

       Plaintiffs’ theory of unavailability under § 3604(a) rests on pre-acquisition

conduct. They argue that defendants’ maintenance and marketing of REO properties

“dissuaded purchasers from buying nonwhite REOs.” [360] at 58. Plaintiffs do not

argue that defendants’ failure to maintain REO properties affected the habitability

of those REO properties. Instead, they argue that the REO deficiencies “by

definition… would have been observable—and discouraging—to potential buyers.”

[360] at 59; see [398] ¶ 39 (investigation was limited to exterior maintenance




27 The constructive eviction standard articulated in Bloch applies to post-acquisition conduct

under § 3604(a), which is a more demanding standard. The court’s discussion of
“habitability,” however, was in the context of pre- and post-acquisition conduct under the Act.
Bloch, 587 F.3d at 777.

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deficiencies, marketing, and “overall curb appeal”). Exterior maintenance deficiencies

or signs of neglect may reduce the availability of desirable housing, but that doesn’t

render housing “unavailable” under the meaning of § 3604(a). Courts have been

reluctant to extend the scope of § 3604(a) to conduct that impacts the desirability of

housing. See Tenafly Eruv Ass’n, Inc. v. Borough of Tenafly, 309 F.3d 144, 158 n.3 (3d

Cir. 2002) (observing that no court has “stretched” § 3604(a) to encompass actions

that “do not actually make it more difficult (as opposed to less desirable) to obtain

housing”) (emphasis in original); see also Cox v. City of Dallas, Tex., 430 F.3d 734, 744

(5th Cir. 2005). Plaintiffs’ theory of desirable housing does not violate § 3604(a).

      But even if § 3604(a) encompasses plaintiffs’ theory of availability based on

exterior maintenance deficiencies, plaintiffs do not raise a genuine issue of material

fact that such conduct dissuaded potential buyers. They cite to evidence from Ayres’s

regression analysis to assert that REO properties in non-white neighborhoods were

more likely to have deficiencies than REO properties in white communities. [360] at

59. But that statistic says nothing about whether those deficiencies had the effect of

discouraging potential buyers. See Southend, 743 F.2d at 1209–10 (“Of course, the

alleged illegal actions must lead to discriminatory effects on the availability of

housing.”).

      Plaintiffs also advance a theory of unavailability based on defendants’

marketing practices such as: Altisource’s use of the Hubzu platform, which imposes

barriers on prospective buyers; inferior marketing practices for REO properties in

non-white neighborhoods; leaving utilities turned off in lower-value REOs, which



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discourages on-site real estate showings for those properties; and the Cash for Deed

Sales model, which sold REO properties to investors rather than individual buyers.

[360] at 59. Defendants’ use of a specific sales platform does not take those properties

off the market and make them truly unavailable under § 3604(a). See Southend, 743

F.2d at 1210 (“Section 3604(a) is designed to ensure that no one is denied the right to

live where they choose for discriminatory reasons.”). Section 3605, on the other hand,

encompasses discriminatory real estate-related transactions. It also relates to

“availability,” but its focus is different—it prohibits discrimination “in making

available such a transaction” rather than the dwelling itself. 42 U.S.C. § 3605(a)

(emphasis added). That’s a better fit for what plaintiffs are trying to prove here. In

any case, even if § 3604(a) encompasses the type of sales and marketing practices at

issue, plaintiffs rely on inadmissible causation evidence to establish that defendants’

marketing and sales practices discouraged potential buyers. See, e.g., [398] ¶ 181

(relying on inadmissible causation evidence from Korver-Glenn to assert

“[d]isproportionately more properties in communities of color were sold to investors

than in white communities”).

       Defendants are entitled to judgment as a matter of law on plaintiffs’ cause of

action under § 3604(a). 28




28 Alternatively, as discussed below, plaintiffs do not satisfy their prima facie burden under

a disparate-impact theory of liability or produce admissible evidence to support a
perpetuation of segregation or disparate-treatment theory under § 3604(a).

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      B.     Disparate Impact

      Disparate-impact liability “permits plaintiffs to counteract unconscious

prejudices and disguised animus that escape easy classification as disparate

treatment,” and “may prevent segregated housing patterns that might otherwise

result from covert and illicit stereotyping.” Inclusive Communities, 576 U.S. at 540.

It “mandates the ‘removal of artificial, arbitrary, and unnecessary barriers.’” Id.

(citing Griggs v. Duke Power Co., 401 U.S. 424, 431 (1971)). The Supreme Court

articulated important limiting principles for plaintiffs relying on a showing of

statistical disparity. Such a claim “must fail if the plaintiff cannot point to a

defendant’s policy or policies causing that disparity.” Id. at 542. “A robust causality

requirement ensures that racial balance does not, without more, establish a prima

facie case of disparate impact.” Id. (cleaned up).

      Plaintiffs bear the burden of showing that a challenged practice “actually or

predictably results in a disparate impact on a group of persons or creates, increases,

reinforces, or perpetuates segregated housing patterns because of [race].” 24 C.F.R.

§ 100.500(a). To establish a prima facie case, plaintiffs must show: “(1) a statistical

disparity and (2) that [defendants] maintained a specific policy that (3) caused the

disparity.” NFHA II, 2019 WL 5963633, at *13; see also Saint-Jean v. Emigrant

Mortg. Co., 129 F.4th 124, 148–49 (2d Cir. 2025) (requiring a plaintiff to show: “(1)

the occurrence of certain outwardly neutral practices, and (2) a significantly adverse

or disproportionate impact on persons of a particular type produced by the

defendant’s facially neutral acts or practice.”); Ohio House, LLC v. City of Costa Mesa,

122 F.4th 1097, 1120 (9th Cir. 2024) (requiring a plaintiff to show: (1) an outwardly
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neutral policy, (2) “a significant, adverse, and disproportionate effect on a protected

class”; and (3) “robust causality, beyond mere evidence of a statistical disparity, that

the challenged policy… caused the disproportionate effect”)

      If plaintiffs establish a prima facie case, the burden shifts to defendants to

show that the policy is justified by a “substantial, legitimate, nondiscriminatory

interest[].” 24 C.F.R. § 100.500(c)(2). The burden then shifts back to plaintiffs to show

a less discriminatory alternative. Id. § 100.500(c)(3). Because defendants do not

present any arguments about valid business justifications, see [316] and [408], the

only dispute at this stage is whether plaintiffs establish a prima facie showing of a

discriminatory effect. See Gross v. Town of Cicero, Ill., 619 F.3d 697, 705 (7th Cir.

2010) (undeveloped arguments are waived).

             1.     Statistical Disparities

      Plaintiffs rely on Ayres’s regression analyses to demonstrate two statistically

significant disparities between Deutsche Bank-owned REO properties in white and

non-white communities: (1) a disparity in maintenance deficiencies of REO properties

and (2) a disparity in the decline of REO property values in defendants’ portfolio.

[360] at 25–26.

      The parties dispute the proper sample of REO properties underlying Ayres’s

statistical regression. [316] at 13–15. Defendants contend that Ayres’s sample

impermissibly includes: (1) properties not serviced or maintained by Ocwen and

Altisource; (2) properties not titled to Deutsche Bank at the time of inspection; and

(3) properties inspected outside of the limitations period. [316] at 9. Recall that Ayres

began with 1,276 properties, from which they excluded properties that were not titled
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to Deutsche Bank at the time of inspection (based on servicers’ data or public records),

properties with titles in dispute and properties not serviced by Ocwen and Altisource.

See [340-1] at 29 (sample subsets). Defendants identify 45 additional properties not

titled to Deutsche Bank at the time of inspection and assert that plaintiffs also fail to

produce sufficient evidence for another 173 properties. [316] at 14–15. These

implicate factual disputes that cannot be resolved at this stage. First, there’s a

dispute as to what source of ownership data is accurate as to the 45 additional

properties that defendants identify. Ayres relied on servicer-provided data and public

records, which defendants say are controverted by other property records or

documents. [362] ¶ 9; [320-1] at 6. Defendants do not attach those documents to their

declaration, but they produce a spreadsheet. They also explain that they “did not

conduct this review for every property, so the absence of a ‘0’ with respect to any

particular property does not necessarily mean the absence of evidence showing it was

not titled to a Trustee at the time of Plaintiffs’ inspection.” [320-1] at 6. Without

specific evidence to controvert ownership, I view the facts in the light most favorable

to plaintiffs and draw the inference in their favor. The other 173 properties that

defendants seek to exclude are based on Governing Agreements that contain master-

servicer provisions (authorizing an entity other than Deutsche Bank to terminate a

servicer) or third-party termination provisions (requiring consent for Deutsche Bank

to terminate a servicer). These properties are subject to a factual dispute on the

existence of an agency relationship and resolved in plaintiffs’ favor. See below VI.E.




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      The sample must, however, be confined to properties serviced by Ocwen and

Altisource. Plaintiffs say there is no reason to confine the sample to only those

properties serviced by Ocwen and Altisource because Deutsche Bank is responsible

for all servicer conduct resulting in the observed disparities. [360] at 20. Because

plaintiffs’ theory of vicarious liability for Deutsche Bank necessarily relies on

establishing an underlying violation of the Act, the proper sample must be limited to

the REO properties serviced by Ocwen and Altisource. Apart from the statistical data,

plaintiffs introduce evidence only as to Ocwen’s and Altisource’s policies, procedures,

and practices. Plaintiffs never identified specific policies of non-party servicing

entities—another essential element of a prima facie case—so any disparate-impact

analysis is necessarily limited to Ocwen and Altisource. Ayres conducted separate

regression analyses on a sample limited to properties acknowledged by Ocwen and

Altisource, and the statistical disparities attributable to defendants must be based

on that limited sample.

      The sample must also be limited based on the statute of limitations period.

Because Ayres separately conducted aggression analyses based on the limitations

period (no earlier than 2012 for Deutsche Bank and 2015 for Ocwen and Altisource),

any conclusions drawn from those subsets are admissible to support disparate-impact

liability. This limitation does not bar Ayres’s statistical analyses based on conduct

outside the limitations period that may provide evidence of intentional

discrimination. See NFHA II, 2019 WL 5963633, at *12.




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      A   statistical   disparity   between groups     may   raise   an inference     of

discrimination, but “statistical comparators must be directly comparable… in all

material respects, though they need not be identical in every conceivable way.” Purtue

v. Wisconsin Dep’t of Corr., 963 F.3d 598, 603 (7th Cir. 2020) (internal quotation

marks omitted); see also Sw. Fair Hous. Council, Inc. v. Maricopa Domestic Water

Improvement Dist., 17 F.4th 950, 963 (9th Cir. 2021) (“Before any statistical

disparate-impact analysis can proceed, the correct comparative populations must be

identified.”). Here, plaintiffs do not compare groups of people. Instead, their

statistical analyses compare REO properties at the neighborhood-level (or more

specifically, census block groups). [360] at 25. Defendants argue that flaws in the

research design and sampling render any statistical comparisons unusable. [316] at

19–23.

      Defendants assert that the aggregation of data across 30 metropolitan areas

dooms plaintiffs’ case because they alleged in their second amended complaint that

they would prove disparities in “each” metropolitan area and have failed to do so.

[316] at 19–22; [408] at 18. Plaintiffs respond that this an “unfair” attempt to

disaggregate data to the point where it would be difficult to demonstrate statistical

significance. [360] at 31. Plaintiffs cite to Capaci vs. Katz & Besthoff, Inc., 711 F.2d

647, 654–56 (5th Cir. 1983), where the court rejected the defendant-employer’s

attempt to fragment hiring data geographically and by year because the employer’s

hiring decisions were made centrally, and liability was “premised on ‘across-the-

board’ practices” occurring at all locations. Whether data aggregation or “pooling” is



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appropriate depends on the facts and theory of the case. See Paige v. California, 291

F.3d 1141, 1148 (9th Cir. 2002) (recognizing the “generally accepted principle that

aggregated statistical data may be used where it is more probative than subdivided

data” and suggesting that “stratification should be upheld only if the [defendant] can

demonstrate that ‘the stratification is appropriate, and that the stratifying variable

is business justified.’”). Here, plaintiffs’ theory of liability is premised on defendants’

“national model” of servicing REO properties. Defendants do not identify any

localized variations in national policies that would render aggregation across cities

improper. See Paige, 291 F.3d at 1149 (“[P]laintiffs’ theory is that the… practices have

the identical discriminatory effect upon members of all minority groups… Right or

wrong, they are entitled to attempt to prove their case.”); Connecticut Fair Hous. Ctr.

v. CoreLogic Rental Prop. Sols., LLC, 478 F.Supp.3d 259, 292 (D. Conn. 2020)

(“[N]ational or state statistics are appropriate [as comparison groups] where ‘there is

no reason to suppose’ that the local characteristics would differ from the national

statistics.”) (citing Dothard v. Rawlinson, 433 U.S. 321, 330 (1977)).

       But defendants are raising a different issue here. Their objection is not so much

about the improper aggregation of data based on localized policies, but rather the

improper aggregation across cities that were “already in severe economic distress”

when they were selected as sites for plaintiffs’ investigation. [316] at 21. This boils

down to a problem of comparable neighborhood characteristics and a statistical

analysis that can control for those preexisting differences. In County of Cook v. Wells

Fargo, the court recognized that “similarly situated” neighborhoods with high and



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low concentrations of minority borrowers could be valid comparators. 2022 WL

17752387, at *11. The problem, however, was that the County’s expert failed to

compare “similarly situated” communities. His statistical analysis did not control for

“relevant, non-racial characteristics—such as income, wealth, or credit score—that

might impact foreclosure rates for different communities.” Id.

      Here, Ayres accounted for relevant neighborhood characteristics in their

regression analyses, including neighborhood property home values and crime rates.

[340-1] at 34. The 85 non-race variables Ayres initially controlled for included:

property land value, census tract median property value, census tract poverty rate,

census tract vacancy rate, block group burglary index, block group larceny index, and

block group vehicle theft index. See [340-1] at 98–102. In rebuttal, Ayres also

accounted for the initial condition of a property by (1) limiting the sample based on

the length of ownership at the time of inspection (after being vacant or entering REO

status) and (2) controlling for a property’s “condition code” in the servicer defendants’

records. [340-7] at 44–49. Even when controlling for all 86 non-race variables, Ayres

observed that non-white block groups had 2.278 more deficiencies than similarly

situated REO properties in white block groups. Ayres also ran an odds-ratio analysis

controlling for these variables and opines that the odds of an REO property in a non-

white block group having at least ten deficiencies was 10.552 times the odds of an

REO property in a white block group having the same number of deficiencies. These

results were statistically significant at the 99% confidence level. [398] ¶ 78; [340-7]

at 49; see ATA Airlines, Inc. v. Fed. Exp. Corp., 665 F.3d 882, 895 (7th Cir. 2011)



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(“Confidence intervals… are statistical estimates of the range within which there can

be reasonable confidence that a correlation or prediction is not the result of chance

variability in the sample on which the correlation or prediction was based; 95 percent

confidence is the standard criterion of reasonable confidence used by statisticians.”).

By controlling for non-race characteristics at the neighborhood and property level

that might otherwise explain the REO property conditions, a reasonable jury could

find that the statistical disparities are based on valid comparison groups.

             2.     Challenged Policies

      Plaintiffs must identify the specific policy or policies that are responsible for

the observed statistical disparities and prove that these policies exist. See City of

Joliet, 825 F.3d at 830 (“Disparate-impact analysis looks at the effects of policies, not

one-off decisions, which are analyzed for disparate treatment.”); Watson v. Fort Worth

Bank & Tr., 487 U.S. 977, 994 (1988). “A combination of subjective and objective

determinants… can count as a sufficiently specific [practice].” Davis v. D.C., 925 F.3d

1240, 1249 (D.C. Cir. 2019). An “undisciplined system of subjective decisionmaking

[can have] precisely the same effects as a system pervaded by impermissible

intentional discrimination.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 355 (2011).

      Plaintiffs identify two categories of policies: affirmative and abdicative. [360]

at 36. They say that defendants affirmatively implemented policies and practices that

amount to “value redlining,” essentially “singling out lower-value REO properties for

different and worse treatment.” [360] at 36–37. Plaintiffs contend that defendants’

abdicative policies manifested in a delegation of discretion, lack of oversight, and a



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national model of property preservation that resulted in maintenance and

preservation disparities. [360] at 38–44.

      On the maintenance side, plaintiffs identify the following policies: the

categorization of certain REO properties as “low-value” and the prioritization of

maintenance and preservation work for “high-value” properties; the rejection of

routine maintenance requests for low-value properties; failure to remediate code

violations for low-value properties; and insufficient quality control and oversight

mechanisms for third-party vendors conducting maintenance and preservation work.

[360] at 36–37.

      On the marketing and sales side, plaintiffs identify the following policies: using

lower quality listings and fewer marketing photos for low-value properties; auction

programs like “Last Chance Auction” and “Dynamic Pricing” that “increased investor-

centric outcomes”; mandatory use of the Hubzu auction site for low-value REO

properties; the “Cash for Deed” sales that limited public listings; and appraisal and

valuation of low-value REO properties that “trapped” them “in a spiral of

deterioration and devaluation.” [360] at 37. Plaintiffs say these marketing and sales

practices “effectively removed” REO properties owned by Deutsche Bank and serviced

by Ocwen from “open real estate markets.” [360] at 38.

      Plaintiffs rely on Ocwen’s and Altisource’s manuals, guides, and policies to

demonstrate that properties were classified as high- or low-value in the context of

both maintenance and marketing/sales policies. See, e.g., [362] ¶ 27 (Ocwen’s “high

value asset policy” was implemented in 2016 and applied to properties valued at more



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than $500,000); [398] ¶ 215 (Ocwen’s “Real Estate Owned Oversight Procedure”

distinguishing “reserve price logic” for “low-value properties” below $250,000 and

“high value properties” above $250,000). Plaintiffs also point to evidence that Ocwen

delegated property management and marketing/sales to Altisource through its

policies and procedures. See, e.g., [398] ¶¶ 221–22. For example, Ocwen’s and

Altisource’s contracts from 2015 provide: “Altisource’s determination that an Asset

requires a PPI Service shall be made by Altisource using its reasonable business

judgment and in accordance with Altisource’s standard operating procedures,

industry standard practices and the Business Requirements Document, as may be

amended from time to time.” [398] ¶ 224. Ocwen also granted Altisource the

discretion to approve or deny repair bids. See [398] ¶ 235. A Chicago-based Altisource

vendor, Nakia Agnew, attested that bids for maintenance work for low-value assets

were routinely rejected in minority areas. 29 [398] ¶ 205. Taken together, these facts

are sufficient to raise a factual dispute as to the existence and operation of

defendants’ policies that allegedly caused the observed disparities.

       Many of the factual disputes about Altisource’s and Ocwen’s policies rest on

disagreements about characterization. See, e.g., [398] ¶ 212 (plaintiffs listing

examples of Altisource’s Residential Sales Consultants’ decisions informed by “value

redlining”). At this stage, I draw inferences in plaintiffs’ favor, but at trial, while




29 Defendants’ hearsay objection is overruled. [398] ¶ 205. Agnew is qualified to testify based

on her personal experience as a vendor how bids were granted. Defendants note that Agnew
used the term “low value” in reference to assets, not the communities those properties were
located in.

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plaintiffs’ proffered experts may summarize admissible evidence and opine on

industry standards, they may not supply the inference to establish the existence of a

policy.

                3.    Causation

          A robust causality requirement “protects defendants from being held liable for

racial disparities they did not create.” Inclusive Communities, 576 U.S. at 542. Courts

have not uniformly interpreted the causation requirement. See Inclusive

Communities Project, Inc. v. Lincoln Prop. Co., 920 F.3d 890, 903–09 (5th Cir. 2019)

(summarizing circuit precedent as four different views of “robust causation”). The

underlying concern reflected in Inclusive Communities is to ensure that “the adverse

effect… is not some broad social condition.” Sw. Fair Hous. Council, 17 F.4th at 965

(9th Cir. 2021); see also Inclusive Communities, 576 U.S. at 543 (suggesting that

causation may be difficult to establish if “multiple factors… go into investment

decisions about where to construct or renovate housing units”).

          Plaintiffs must show that the REO disparities do not simply reflect existing

economic and social inequalities in neighborhoods. Regression analyses must

properly account for “major” factors that otherwise explain differences between

groups. See Bazemore, 478 U.S. at 400 (observing that a regression analysis

accounting for major factors may be sufficient evidence even if it does not account for

every measurable variable). What counts as a “major factor” depends on the specific

facts and theory of a case. Coward v. ADT Sec. Sys., Inc., 140 F.3d 271, 274 (D.C. Cir.

1998). A regression analysis showing pay disparities based on race or sex, for

example, should adequately control for differences in employees’ qualifications such
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as years of experience and education—factors that most commonly explain pay

differentials. See E.E.O.C. v. Sears, Roebuck & Co., 839 F.2d 302, 326–27 (7th Cir.

1988). Here, Ayres sought to control for potential social determinants on property

conditions. The initial control variables included 85 potential characteristics that are

“widely considered in the literature to be useful in predicting property conditions”

including factors like the “length of bank ownership, season of the inspection, the age

of the home, the size of the home, neighborhood home values, and neighborhood

crime.” [340-1] at 37, 98–102. In rebuttal, Ayres ran additional regression analyses

to account for the initial condition of a property and found that statistically

significant disparities persist. [340-7] at 44–49. To the extent that defendants suggest

that other “potential” variables explain the results without specifying them, see [316]

at 23, the omission of those variables goes to the probative value of the regression

analyses. See Bazemore, 478 U.S. at 400. A reasonable jury could find that plaintiffs’

regression analyses adequately account for alternative factors and conclude that race

explains the disparities. But a reasonable jury could also find that the regression

analyses fail to capture important race-neutral, social determinants and conclude

that race is not the cause. At this stage, plaintiffs are entitled to the former inference

in their favor. Summary judgment on this issue is inappropriate.

      That doesn’t get plaintiffs all the way there. There’s still a question of what

discriminatory effect is captured by Ayres’s statistical analyses. Plaintiffs’ claims

arise under §§ 3604(a), (b), and 3605, so their statistical evidence must show

discriminatory effects related to the prohibited conduct. Otherwise, the statistical



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disparities would simply be robust evidence of a difference in outcomes that do not

give rise to liability under the Act. Under § 3604(a), that means “the alleged illegal

actions must lead to discriminatory effects on the availability of housing.” Southend,

743 F.2d at 1209–10. Under § 3604(b), that means showing that defendants’ conduct

created discriminatory effects on the maintenance and repair of REO properties. See

42 U.S.C. § 3604(b); 29 C.F.R. § 100.65(b)(2). And under § 3605, that means showing

that defendants’ conduct created discriminatory effects on the availability of real

estate-related transactions. 42 U.S.C. § 3605(a).

      The glaring gap is that Ayres’s statistical analyses do not present evidence of

disparities to support all three claims. Neither regression analysis purports to

measure discriminatory effects on the availability of housing under § 3604(a) or the

availability of real estate-related transactions under § 3605. Ayres’s regressions rely

on plaintiffs’ inspection data that measured exterior maintenance and marketing

deficiencies (e.g., the absence or presence of a “distressed properties sign”). But

plaintiffs challenge defendants’ marketing and sales policies that were not captured

by those measures. Their theories under §§ 3604(a) and 3605 are premised on

defendants’ policies creating unnecessary restrictions and barriers to REO home

ownership in non-white communities. They argue, for example, that the mandatory

use of Altisource’s Hubzu platform or the Cash for Deeds sales model created

unnecessary red tape, took REO properties off the “open” market, and dissuaded

potential buyers. But Ayres’s data doesn’t capture the impact of defendants’ conduct

on REO property sales or availability in the market. Put another way, there’s a



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fundamental mismatch between defendants’ marketing and sales policies, the

observed statistical disparities, and the causal link that plaintiffs present. Taken

together, plaintiffs’ evidence of defendants’ REO preservation and maintenance

policies, the inspection data capturing exterior REO deficiencies, and Ayres’s

statistical analysis of the deficiency data establish a prima facie case of disparate

impact based on illegal maintenance conduct under § 3604(b). But the regression

analyses do not create a genuine issue of material fact of disparate impact on the

availability of housing or real estate-related transactions under § 3604(a) or § 3605.

Without admissible evidence of disparate impact on those terms, plaintiffs are limited

to their § 3604(b) claim. Because plaintiffs rely on the same statistical evidence to

support their claims under both the disparate-impact and disparate-treatment

theories of liability, summary judgment is granted in favor of defendants on the

§§ 3604(a) and 3605 claims under either framework.

      C.     Perpetuation of Segregation

      Plaintiffs’ disparate-impact claim includes a perpetuation of segregation

theory that does not rely on Ayres’s statistical analyses. See Arlington Heights, 558

F.2d at 1290 (a facially neutral decision may have a racially discriminatory effect on

a community “if it perpetuates segregation and thereby prevents interracial

association”); 24 C.F.R. § 100.500(a) (a practice has a discriminatory effect if it

“creates, increases, reinforces, or perpetuates segregated housing patterns because of

[race]”). The Seventh Circuit articulated four considerations: (1) the strength of a

plaintiff’s showing of discriminatory effect; (2) evidence of discriminatory intent; (3)

a defendant’s interest in the challenged action; and (4) whether a plaintiff “seek[s] to
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compel [a defendant] to affirmatively provide housing for members of minority groups

or merely to restrain [a] defendant from interfering with individual property owners

who wish to provide such housing.” Arlington Heights, 558 F.2d at 1290. Arlington

Heights involved a challenge to the Village’s zoning decision that blocked an

affordable housing development. That makes it an odd fit to this case challenging

defendants’ private conduct over the span of several years. Still, nothing in this

circuit’s precedent forecloses its application. See Bloch, 587 F.3d at 784 (referencing

the Arlington Heights inquiry but declining to apply it on appeal because the parties

had not addressed it below). In Arlington Heights, the court noted the racial

concentration of the area (“overwhelmingly white”) and the possibility that

constructing a housing development would “be a significant step toward integrating

the community.” 558 F.2d at 1291. The court weighed the other three factors in favor

of the Village but determined that the possibility of integration tipped the balance in

favor of the plaintiffs. Id. at 1294 (“[W]e must decide close cases in favor of integrated

housing.”).

      Defendants argue that plaintiffs do not present evidence on the segregative

effect of defendants’ REO conduct. [408] at 28–29. Plaintiffs do not dispute that, but

they point out that it’s unclear under Arlington Heights whether specific data of

neighborhood racial segregation is required. Plaintiffs instead argue that they

provide sufficient evidence that defendants’ REO conduct stigmatized communities

of color, deterred buyers from purchasing properties in those neighborhoods, and

diminished value in surrounding homes in non-white neighborhoods. [360] at 63. But



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plaintiffs rely on inadmissible expert testimony to support their argument. Korver-

Glenn’s expert testimony on the impact of defendants’ marketing and sales policies

on REO property values is excluded because it offers inadmissible causation opinions.

See above V.G. Plaintiffs also point to testimony from Korver-Glenn, Ayres, and Poche

on a “contagion effect” that “would depress the values of surrounding homes.” See

[398] ¶¶ 94, 291, 303. None of these experts offer admissible testimony on a

“contagion effect” linked to defendants’ conduct—they all refer to generalized social

and economic patterns linked to poor property maintenance. The cited portion of

Ayres’s report refers only to literature that “neglected or poorly maintained

foreclosures reduce the prices of nearby non-distressed sales through a contagion

effect.” [398] ¶ 94; [340-1] at 17. Ayres does not purport to quantify the impact of

defendants’ maintenance conduct on surrounding home values. Poche also opines on

a “contagion effect” based on his professional experience and social science literature

that suggest poorly maintained properties contribute to neighborhood blight and

negatively impact surrounding property values. [398] ¶ 303; [337-1] at 5–6. But

Poche’s opinions on general social forces that may perpetuate segregation do not

relate to defendants’ specific REO conduct either, and in any case, Poche does not

offer admissible causation evidence linking defendants’ REO conduct to deficiencies,

surrounding home values, or increased racial segregation. Because plaintiffs do not

rely on admissible evidence, they do not raise a genuine issue of material fact that

defendants’ conduct perpetuates racial segregation in the selected communities.

Defendants are entitled to judgment as a matter of law on this theory of liability.



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      D.     Disparate Treatment

      Plaintiffs elect to proceed under the McDonnell Douglas burden-shifting

framework and the Supreme Court’s Arlington Heights test to prove intentional

discrimination. Because the disparate-impact liability framework borrows from the

McDonnell Douglas framework in the Title VII context, the facts supporting

disparate-impact and disparate-treatment theories of liability often overlap. See

Inclusive Communities, 576 U.S. at 521 (“[D]isparate-impact liability under the FHA

plays an important role in uncovering discriminatory intent.”); Vill. of Bellwood v.

Dwivedi, 895 F.2d 1521, 1533 (7th Cir. 1990) (“[Discriminatory] effect is probative of

intent, so that an unexplained discriminatory effect may by itself support an

inference of discriminatory intent—an insight at the heart of the McDonnell Douglas

method of proving disparate treatment.”) (internal citations omitted). The same goes

for facts supporting disparate-impact liability that may be relevant to the Supreme

Court’s Arlington Heights inquiry. See Ave. 6E Invs., LLC v. City of Yuma, Ariz., 818

F.3d 493, 507–08 (9th Cir. 2016) (noting that “statistics on the disparate impact

caused by a decision and the historical background of the decision [] tend to make []

disparate-treatment claims plausible”).

      Ultimately, these “tests” are just different ways of determining “whether a

reasonable jury could find that the relevant decision was motivated in part by an

unlawful criterion.” Runkel v. City of Springfield, 51 F.4th 736, 742 (7th Cir. 2022)

(citing Ortiz v. Werner Enterprises, Inc., 834 F.3d 760, 765 (7th Cir. 2016)). In short,

to prove intentional racial discrimination, plaintiffs must present evidence that race

was a “motivating factor” in defendants’ conduct. Id. at 743.
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       Statistical evidence of a disparity otherwise unexplained by race-neutral

factors may raise an inference of discrimination in disparate-treatment cases. See

Adams, 231 F.3d at 424; Sears, 839 F.2d at 309 & n.22. Plaintiffs point to statistical

disparities based on differential REO maintenance in non-white neighborhoods as

compared to white neighborhoods. While statistical disparities alone are generally

insufficient to prove disparate treatment, defendants do not raise any valid business

justifications. 30 See [408] at 25; cf. Texas Dep’t of Cmty. Affs. v. Burdine, 450 U.S. 248,

254 (1981) (a prima facie case “raises an inference of discrimination only because…

these acts, if otherwise unexplained, are [presumed to be] more likely than not based

on the consideration of impermissible factors”). Plaintiffs present evidence to suggest

that differential maintenance based on REO property values, including cost-cutting

conduct for REO properties deemed low-value, has no profit justification—in other

words, that it is pretextual. [360] at 46–47. Tyler opines that industry standards

require REO property owners to remedy certain code violations no matter the

property value or initial property condition. [319-1] at 9–14. Ayres opines that a

company’s decision to forgo remediating a deficiency may be business justified if the

resale price of a lower-valued property is inelastic as to that deficiency. [340-2] at 3;

[340-7] at 78–80. For example, defendants may have a legitimate business

justification for failing to cut an overgrown lawn if an overgrown lawn doesn’t affect

resale value of a property. A cost justification may provide a race-neutral reason for




30 The issue of valid business justifications is raised in the parties’ expert reports, see, e.g.,

[340-7] at 79, but defendants do not articulate any arguments in their briefs. See [408] at 25.

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defendants’ failure to remediate deficiencies, but in the absence of any justifications,

a reasonable jury could infer that neighborhood race played an impermissible role in

defendants’ decisions to remediate deficiencies for some REO properties and not

others.

      In applying the Arlington Heights factors to determine whether defendants’

conduct was motivated by discriminatory purpose, a court may examine

circumstantial evidence of the historical background of the challenged decision, the

sequence of events leading up to the decision, departure from normal procedures, and

relevant legislative or administrative history. Arlington Heights, 429 U.S. at 266–68.

Plaintiffs point to (1) the historical background of the foreclosure crisis in non-white

neighborhoods; (2) notice to defendants that Deutsche Bank-owned REO properties

were being poorly maintained; (3) departures from defendants’ own internal

compliance audits and its stated obligations to maintain and market all REOs

equally; and (4) failure to impose non-discrimination policies and training. [360] at

48–54. Of these factors, plaintiffs provide admissible evidence in support of the

second point—that defendants were aware that REO maintenance conduct affected

communities of color more heavily. See Avenue 6E Invs., 818 F.3d at 508 (a relevant

factor included city officials’ awareness that a zoning decision would bear more

heavily on one race “in light of historical patterns of segregation by race”). For

example, the manager of Deutsche Bank National Trust Company’s Mortgage-

Backed Securities Trust Administration group attended a meeting with Chicago

officials to discuss foreclosure conditions and crime surrounding vacant homes where



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a building inspector and police department representative were also in attendance.

[398] ¶ 120. The same Deutsche Bank representative also attended meetings in Los

Angeles, Boston, and New Haven to discuss foreclosures with servicers in those cities.

Defendants assert that the cited evidence do not amount to concessions that Deutsche

Bank or the servicer defendants knew about the impact of their conduct on racial

segregation in communities. 31 [398] ¶ 121. That’s fair enough. Nothing in the record

suggests that any of the Deutsche Bank representatives liaising with local officials

and groups commented on—or expressed awareness of—neighborhood race or

minority populations in the impacted communities. Plaintiffs also identify

Altisource’s directive to remove inappropriate comments from vendor systems,

including comments about race, as probative evidence of the servicer defendants’

awareness of the potential for race-based discrimination. [360] at 53 (citing [398]

¶ 146); see Guimaraes v. SuperValu, Inc., 674 F.3d 962, 974 (8th Cir. 2012)

(“[R]acially charged code words may provide evidence of discriminatory intent by

sending a clear message and carrying the distinct tone of racial motivations and

implications.”) (internal quotation marks omitted). Defendants point out that this



31 Plaintiffs assert that Deutsche Bank’s denial that it was aware of REO maintenance issues

disproportionately affecting non-white communities was “not credible.” [398] ¶ 121. They cite
to deposition testimony of a Deutsche Bank representative. See [369-1] at 21 (41:5–41:8):
       Q. And in each of these cities that we mentioned, Chicago, Los Angeles, Boston,
       Milwaukee, and New Haven, is it correct that there was a considerable minority
       population in those cities?
       A. I don’t know.
Although credibility is matter for trial, not summary judgment, plaintiffs must point to
evidence to controvert Deutsche Bank’s lack of knowledge. The cited material does not
suggest a credibility dispute. Defendants’ objection is sustained.

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training notice was not in response to a particular comment but rather a prophylactic

measure to prohibit discriminatory comments. 32 [398] ¶ 146. Plaintiffs’ case under

Arlington Heights is based on minimally probative evidence, but it’s not clear as a

matter of law that plaintiffs fail to meet their burden of proof. See Pac. Shores

Properties, LLC v. City of Newport Beach, 730 F.3d 1142, 1156 (9th Cir. 2013) (stating

that, for the purposes of summary judgment, “any indication of discriminatory motive

may suffice to raise a question that can only be resolved by a factfinder”). Based on

all the evidence in the record and drawing inferences in plaintiffs’ favor, a reasonable

jury could find that Ocwen’s and Altisource’s REO maintenance conduct was

motivated in part by race, either under the McDonnell Douglas framework or under

Arlington Heights. Plaintiffs raise genuine issues of material fact as to intentional

discrimination, and they may pursue their § 3604(b) claim under a disparate-

treatment theory of liability.

       E.     The Deutsche Bank Defendants’ Liability

       The Fair Housing Act encompasses direct and vicarious liability. Meyer, 537

U.S. at 285. Traditional vicarious liability rules apply, which “ordinarily make

principals or employers vicariously liable for acts of their agents or employees in the


32 Defendants object to the fact as immaterial and an improper characterization of the
underlying exhibits. [398] ¶ 146. Defendants assert that the “Inappropriate Comments”
policy was not directed at removing orders but as a preventative measure. Plaintiffs cite to
two different exhibits, which may or may not be a part of the same email chain. Compare
[370-9] at 9 (Altisource memorandum dated December 12, 2018, to vendor partners that they
should not include “remarks about the community, its people and/or the residents, that could
be considered discriminatory” in their work orders), with [370-9] at 11 (Altisource email also
dated December 12, 2018, with example of inappropriate “comments” circled that do not
appear to be race-based). To the extent that plaintiffs assert this fact as evidence of past
racially derogatory comments, defendants’ objection is sustained.

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scope of their authority or employment.” Id. Whether an agency relationship exists

under the Fair Housing Act is determined under federal law. City of Chicago v.

Matchmaker Real Est. Sales Ctr., Inc., 982 F.2d 1086, 1097 (7th Cir. 1992); see also

NECA-IBEW Rockford Loc. Union 364 Health & Welfare Fund v. A & A Drug Co., 736

F.3d 1054, 1058 (7th Cir. 2013) (no choice-of-law issue where Illinois law, federal

common law, and the Restatement of Agency are all in accord). “[T]he test of agency

is whether the alleged principal has the right to control the manner and method in

which work is carried out by the alleged agent and whether the alleged agent can

affect the legal relationships of the principal.” Sosa v. Onfido, Inc., 8 F.4th 631, 640

(7th Cir. 2021) (citing Chemtool, Inc. v. Lubrication Techs., Inc., 148 F.3d 742, 745

(7th Cir. 1998)). Questions about agency are typically reserved for the jury unless the

undisputed facts are insufficient to establish agency as a matter of law. Harris v.

Itzhaki, 183 F.3d 1043, 1054 (9th Cir. 1999). “A principal cannot free itself of liability

by delegating to an agent the duty not to discriminate.” Matchmaker Real Est., 982

F.2d at 1096.

       The Deutsche Bank defendants disclaim a principal-agent relationship with

Ocwen and Altisource. Specifically, they argue that the REO properties in this

lawsuit were (1) titled to the trustees only in their capacity as trustees of a specific

residential mortgage-backed securities trust by action of the servicers; (2) were

maintained by the servicers during the time they were held by the RMBS Trusts; and

(3) were subsequently conveyed to third parties by action or direction of the servicers.

[333] at 9.



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       In a residential mortgage-backed securities transaction, mortgage loans are

pooled together and interests in the money generated from those loans are sold to

investors. [352] ¶ 2. The transaction begins with an “originator” making a mortgage

loan to a borrower. [352] ¶ 2.2. Those loans are conveyed to a “sponsor” who bundles

them into a loan pool and conveys the pool to a “depositor.” [352] ¶ 2.3. The depositor

conveys the loan pool to the trust in exchange for certificates and sells those

certificates to investors. [352] ¶ 2.3. The certificates entitle investors to a share of

payments from the loan pool. [352] ¶ 2.3. A sponsor selects the trustee and servicer.

[352] ¶ 2.4. Servicers are generally responsible for servicing the loans in the trust by

collecting loan payments or enforcing the terms of the loan. [352] ¶ 2.5. In some

situations, sponsors may also engage “master servicers” that monitor servicers and

enforce compliance with their obligations. [352] ¶ 2.6.

       Governing Agreements define the rights and obligations of the parties. [352]

¶ 3 (variations of contracts include Pooling & Servicing Agreements, Trust

Agreements, Indenture Agreements), ¶ 10. As trustees, the Deutsche Bank

defendants hold legal title to the REO properties. [405] ¶ 4. Some of the REO

properties that plaintiffs investigated were serviced by an entity other than Ocwen. 33

[352] ¶ 17. The parties dispute many facts about the specific terms and provisions in

the Governing Agreements and how they allocate responsibilities among the trustee,



33 Plaintiffs admit that some of the REO properties in the investigation pool were serviced by

a party other than Ocwen, but they assert that all REO properties were titled to Deutsche
Bank. [352] ¶ 17. Whether some of the REO properties belonged to Deutsche Bank at the
time of plaintiffs’ on-site investigation is subject to a separate factual dispute. See above
VI.B.1.

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servicer, and in some cases, a master servicer. [405] ¶ 8. The parties acknowledge

that there is substantial variation among Governing Agreements. [405] ¶ 8. I focus

on material issues of fact, recognizing that no single Governing Agreement applies to

every REO property at issue in this lawsuit.

       An agency relationship can be formed by contract or conduct, though “not all

contracts create agency relationships and not all conduct creates agency

relationships.” Sosa, 8 F.4th at 640. “The requirement that an agent be subject to the

principal’s control assumes that the principal is capable of providing instructions to

the agent and of terminating the agent’s authority.” Restatement (Third) Of Agency

§ 1.01, cmt c. (2006). Many of the Governing Agreements contained provisions

outlining a servicer’s responsibilities on behalf of the trustee. [405] ¶ 47. These

responsibilities included: managing, conserving, protecting, and/or operating REO

property; marketing, selling, and transferring REO properties; instituting foreclosure

proceedings; and reporting to the trustee regarding the status of an REO property.

[405] ¶ 47(c), (d), (e), and (f). Here’s an example:

       The Servicer shall manage, conserve, protect and operate each REO Property
       for the Trustee solely for the purpose of its prompt disposition and sale. The
       Servicer, either itself or through an agent selected by the Servicer, shall
       manage, conserve, protect and operate the REO Property in the same manner
       that it manages, conserves, protects and operates other foreclosed property for
       its own account, and in the same manner that similar property in the same
       locality as the REO Property is managed. The Servicer shall attempt to sell the
       same (and may temporarily rent the same for a period not greater than one
       year, except as otherwise provided below) on such terms and conditions as the
       Servicer deems to be in the best interest of the Trustee. The Servicer shall
       notify the Trustee from time to time as to the status of each REO Property

[351-1] at 40. Here’s another example:



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      The Servicer shall use its best efforts to dispose of the REO Property as soon
      as possible and shall sell such REO Property in any event within one year after
      title has been taken to such REO Property, unless the Servicer determines,
      and gives an appropriate notice to the Trustee to such effect, that a longer
      period is necessary for the orderly liquidation of such REO Property. If a period
      longer than one year is permitted under the foregoing sentence and is
      necessary to sell any REO Property, the Servicer shall report monthly to the
      Trustee as to the progress being made in selling such REO Property. The
      Trustee has no obligation with respect to REO dispositions.

[351-1] at 28. Deutsche Bank does not dispute that some of the Governing

Agreements contained this language, though they assert that some agreements

omitted such provisions. [405] ¶ 47. The contractual language provides evidence that

the trustees, at least under some Governing Agreements, had the right to control the

terms of a servicer’s REO property management, including requiring servicers to

provide the trustees with appropriate notice of REO conditions.

      The parties also dispute the extent to which Deutsche Bank could enforce a

default and terminate servicers. Some of the agreements authorized a master servicer

to enforce a default, while others authorized a trustee to enforce a default and

sometimes step into the servicer’s shoes as a “successor servicer.” Compare [352] ¶ 13

and ¶ 14; see also [405] ¶ 74. The language in one Governing Agreement provided

that in the event of a default,

      the [Master Servicer] may… by notice in writing to the applicable Servicer or
      Countrywide Servicer… terminate all of the rights and obligations of the
      applicable Servicer under this Agreement…

[369-12] at 12. Another Governing Agreement provided that in the event of a default,

      the Trustee may… terminate all of the rights and obligations of the Servicer
      under this Agreement and in and to the Mortgage Loans… On and after the
      receipt by the Servicer of [written notice of default] all authority and power of
      the Servicer hereunder, whether with respect to the Mortgage Loans or
      otherwise, shall pass to and be vested in the Trustee.

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[342-6] at 114. In situations involving a master servicer, Deutsche Bank asserts that

the right to control the manner and method of servicers’ activities did not rest with

the trustees. 34 [333] at 11. The undisputed facts show, that at least in some

situations, the trustees had the right to enforce a default and terminate an agreement

with a servicer. And in some situations, the trustees would become responsible for

servicer duties. [405] ¶ 74. Agreements where a master servicer had the right to

enforce a default might support an inference in favor of Deutsche Bank. But other

agreements where trustees could enforce the default and terminate a servicer support

the opposite inference. No conclusive inference is apparent from the record.

       Plaintiffs also point to the Limited Powers of Attorney provision in all

Governing Agreements as evidence of an agency relationship. [405] ¶ 62. Deutsche

Bank emphasizes that the provision granted limited powers of attorney only as to

foreclosure proceedings and loan modifications, which confirms the absence of an

agency relationship as to maintenance activities. [333] at 10–11. Deutsche Bank’s

point goes to the scope of the agency relationship rather than its existence. See

Restatement (Third) Of Agency § 1.01, cmt c. (a common form of agency is the

relationship created by a power of attorney). In any case, this provision is probative,

even if not dispositive, of the relationship between Deutsche Bank and the master

servicer and servicers. Viewing all the facts in a light most favorable to plaintiffs, a




34 The parties dispute what constitutes a default, but they agree that default was typically

defined in the terms of the applicable agreement. [405] ¶ 32.

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reasonable jury could find an agency relationship based on express contractual

terms. 35

       Still, the language of a contract is not dispositive. Deutsche Bank argues that

it did not exercise control over the everyday activities of servicers. [403] at 12–15.

Plaintiffs introduce sufficient evidence of Deutsche Bank communicating with the

servicers related to REO maintenance violations. [405] ¶¶ 50–58. On several

occasions, Deutsche Bank sent memorandums to loan servicers addressing REO

maintenance and servicing issues. [405] ¶¶ 37–41. Deutsche Bank sent a memo to

“Securitization Loan Servicers” on July 28, 2010:

       The Trustee has received a number of inquiries and complaints from
       government officials and community groups about the physical condition of
       REO properties. Such inquiries and complaints also are receiving increasing
       attention from the media, law enforcement agencies, and courts. Under
       standard securitization documentation, loan servicers are expressly
       responsible for managing all aspects of the REO disposition process, including
       appropriate maintenance of REO properties. Failure to fulfill these
       responsibilities may expose the Trusts to financial losses, potentially
       depressing the value of Trust property and exposing the Trusts to legal and
       financial liability. Because title to REO properties typically includes the name
       of the Trustee institution, these failures also expose the Trustee to legal claims
       and reputational harm. To protect against such consequences, which are likely
       to give rise to indemnification claims against servicers, the Trustee urges
       servicers to exercise heightened diligence with respect to REO maintenance
       and disposition. In addition, we urge Servicers to engage property managers
       who will take proactive steps to protect REO properties, including when they
       are vacant for extended periods of time.




35 To the extent that Deutsche Bank argues that an agency relationship does not exist down

the chain because of Ocwen’s contract with Altisource, [333] at 9, sufficient evidence in the
record belies that argument. Some of the Governing Agreements contained language
authorizing servicers to delegate its responsibilities, including through “subservicing
agreements” between a servicer and subservicer. See, e.g., [369-12].

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[405] ¶ 41. Deutsche Bank also communicated directly with Ocwen about REO code

violations. An email from a Deutsche Bank representative to Ocwen representatives

in 2014 demanded answers for violations related to an REO property in Milwaukee:

      [The property] has 27 violations and Milwaukee’s Department of Neighborhood
      Services (DNS) confirmed that this property was in a press release today by
      Mayor Barrett. The press release was regarding long-term vacant properties.
      DB needs to know:

      1. What steps Ocwen is taking to resolve these violations?
      2. What is the property’s status: charge-off, foreclosure or reo?
      3. Who at Ocwen and when will Ocwen be calling DNS to discuss next steps
      regarding the property? This needs to be done by next week. I can be on the
      call if you need me to be.

[405] ¶ 51; [353-1] at 13. Another email from a Deutsche Bank executive to Ocwen in

2017 demanded action related to an REO property in Ohio and specifically mentioned

Altisource:

      [He] called me again this morning very frustrated and claiming negligence by
      DB, Ocwen and Altisource. [He] wants to talk to a stateside agent and claims
      that his reimbursement request for $1,000 has not been addressed. [He] stated
      that if his issues are not resolved today, he will walk away. Please have an
      agent call [him] today.

      [353-1] at 21. Deutsche Bank downplays the significance of these emails as

evidence of control over the manner of servicing activities. [403] at 14. It cites to

Kolchinsky v. W. Dairy Transp., LLC, 949 F.3d 1010, 1013 (7th Cir. 2020), where the

court found that a company’s requirement that a truck driver “contact it at various

times… including a daily status call” was insufficient to establish agency as a matter

of law. The court noted in Kolchinsky that these requirements were plaintiffs’

“strongest facts in support of an agency relationship,” but it did not support a finding

of control to the degree required in similar cases involving truck drivers. 949 F.3d at


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1013–14. That case involved the application of Illinois law specific to independent

drivers and the right to control the manner of delivery, and in any case, there’s other

evidence in this record to suggest that Deutsche Bank exerted control over

maintenance conduct with the threat of enforcement. See, e.g., [405] ¶ 41 (reminding

servicers that “failures also expose the Trustee to legal claims and reputational

harm… which are likely to give rise to indemnification claims against servicers”).

Additionally, the emails related to meetings with Milwaukee’s municipal officials

suggest that third parties viewed Deutsche Bank as responsible for the servicers’

maintenance conduct. [405] ¶ 51; cf. Restatement (Third) Of Agency § 2.01, cmt. c (“A

principal’s manifestation to an agent may be expressed in a form that is observable

by third parties.”). A jury could reasonably infer the existence of an agency

relationship based on conduct when viewing these facts together.

      In sum, there’s sufficient evidence in the record for a jury to infer the existence

of an agency relationship, whether by contract or conduct, between the Deutsche

Bank defendants as principals and the servicer defendants as their agents. Summary

judgment on the issue of Deutsche Bank’s vicarious liability under the Fair Housing

Act is denied. If a jury concludes that Ocwen and Altisource engaged in

discriminatory conduct under § 3604(b), there is evidence in the record to allow it to

further conclude that Deutsche Bank is vicariously liable for the servicers’ violations

committed in the scope of their servicing agreements.

      Judge Leinenweber also left the door open for plaintiffs to establish direct

liability by showing that Deutsche Bank held “incentives, sanctions, and remedial



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tools that they could have used but chose not to.” NFHA II, 2019 WL 5963633, at *10

(citing Wetzel, 901 F.3d at 856). The parties dispute the standard for direct liability.

Deutsche Bank argues that plaintiffs must demonstrate “unusual supervisory

control” to satisfy Wetzel. [403] at 18–19. In Francis v. Kings Park Manor, Inc., 992

F.3d 67, 77 (2d Cir. 2021), the Second Circuit found a landlord could not be held liable

for tenant-on-tenant discrimination because, unlike the resident in Wetzel who lived

in a residential community for older adults, the plaintiff did not allege facts giving

rise to a plausible inference that the “defendant-landlord had unusual supervisory

control over both the premises and the harassing tenants.” But the Seventh Circuit

did not articulate a standard of “unusual” supervisory control in Wetzel. It noted that

“[c]ontrol in the absolute sense… is not required for liability” and recognized that a

property owner’s control could arise from contract or property law. Wetzel, 901 F.3d

at 865–66. The standard under Wetzel, not Francis, is controlling.

      Many of the facts that apply to the agency analysis are relevant to the question

of control under Wetzel: Governing Agreements authorizing Deutsche Bank to enforce

a default and terminate servicers either directly or with third-party consent;

memorandums sent to loan servicers on REO property conditions and servicer

compliance; directives by Deutsche Bank representatives to Ocwen to address

municipal inquiries and remediate code violations. See [352] ¶ 14; [405] ¶¶ 41, 50.

And the record is clear on what Deutsche Bank didn’t do. Deutsche Bank admits that

it never terminated Ocwen as a servicer for failing to maintain REO properties and

that it never sought third-party consent to initiate the termination process. [405]



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¶ 35. Together, these facts are sufficient to support an inference that Deutsche Bank

had the requisite control to affect servicers’ maintenance conduct yet failed to do so.

      But focusing on the question of Deutsche Bank’s ability to control servicer

conduct sidesteps a key principle underlying Wetzel. Direct liability depends on a

defendant’s inaction in the face of known discriminatory conduct. “[W]e have said

only that the duty not to discriminate in housing conditions encompasses the duty

not to permit known harassment on protected grounds.” Wetzel, 901 F.3d at 864

(emphasis in original). The court also drew from analogous Title IX cases holding

schools directly liable for remaining “deliberately indifferent to known acts of

student-on-student sexual harassment [when] the harasser is under the school’s

disciplinary authority.” Id. In Wetzel, there was no question that management “had

actual knowledge of the severe harassment” based on the plaintiff’s sexual

orientation. Id. Here, the evidence in the record shows Deutsche Bank was on notice

of Ocwen’s and Altisource’s failure to maintain REO properties, but the record does

not suggest that Deutsche Bank had knowledge that the servicers’ maintenance

conduct was based on neighborhood race. In situations where Deutsche Bank was put

on notice of maintenance-related issues and acted on that information, the records at

most reveal that Deutsche Bank was responding to complaints about REO property

conditions and code compliance. See [405] ¶ 41 (“The Trustee has received a number

of inquiries and complaints from government officials and community groups about

the physical condition of REO properties.”); ¶ 51 (“What steps [is] Ocwen is taking to

resolve these violations?”); ¶ 53 (“I sent [Ocwen] a monthly report from the City of



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Milwaukee regarding properties that either needed to be registered or has [sic]

outstanding violations. Can you verify if you received this report and provide an

update for the following properties?”). Plaintiffs present circumstantial evidence that

the servicers’ failure to maintain REO properties affected non-white neighborhoods

more heavily than white neighborhoods, but that’s not enough to infer Deutsche

Bank’s knowledge under a deliberate-indifference standard. The record may support

a finding that Deutsche Bank had the ability to control Ocwen’s and Altisource’s

maintenance conduct, was put on notice of servicers’ maintenance failures, and failed

to stop it—but it does not ultimately support an inference that Deutsche Bank failed

to act based on known race discrimination by the servicers. The Deutsche Bank

defendants are entitled to judgment as a matter of law on plaintiffs’ theory of

deliberate indifference to Ocwen’s and Altisource’s discriminatory conduct.

VII.   Conclusion

       Defendants’ motion to dismiss for lack of standing, [429], is granted in part and

denied in part. Plaintiffs lack standing to pursue injunctive relief, but they have

standing to pursue monetary damages.

       Defendants’ motion to strike plaintiffs’ statements of additional material fact,

[391], is denied. Defendants’ motion to strike Ayres’s November Declaration, [406], is

granted. Defendants’ motions to exclude the expert testimony of Pamela Kisch, [303],

Albert Poche, [305], Deavay Tyler, [318], Ian Ayres, [323], Elizabeth Korver-Glenn,

[326], and Timothy Guetterman, [327] are granted in part and denied in part.

Defendants’ motion to exclude Stacy Seicshnaydre’s testimony, [307], is denied



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without prejudice and subject to renewal if necessary. Plaintiffs’ motions to exclude,

[311], are denied without prejudice and subject to renewal if necessary.

      The Deutsche Bank defendants’ motion for summary judgment, [315], is

granted in part and denied in part. The joint motion for summary judgment, [332], is

granted in part and denied in part. Plaintiffs’ only remaining claim is under § 3604(b),

which they may pursue under either disparate-impact (excluding perpetuation of

segregation) or disparate-treatment theories of liability, and against Deutsche Bank

under vicarious liability.




ENTER:

                                                ___________________________
                                                Manish S. Shah
                                                United States District Judge
Date: March 31, 2025




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